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           IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION


LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC.; LEAGUE OF WOMEN
VOTERS OF FLORIDA EDUCATION
FUND,

           Plaintiffs,
                                           Case No. 4:23-cv-00216
           v.                              Case No. 4:23-cv-00215
                                             (Consolidated)
ASHLEY MOODY, in her official
capacity as Attorney General of Florida;
CORD BYRD, in his official capacity as
Florida Secretary of State,

           Defendants.


          LWVFL PLANTIFFS’ CLOSING STATEMENT
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I.     Introduction

       Florida   has    comprehensively     regulated   third-party   voter

registration organizations (3PVROs) for years. Those groups have

adhered to increasingly punitive and complex sets of rules, all while

providing an invaluable service to Florida: helping its citizens participate

in our democracy.

       Last year, Florida clamped down still further. In enacting Senate

Bill 7050 (SB 7050), it banned non-U.S. citizens from assisting with voter

registration, Fla. Stat. § 97.0575(1)(f); made it a felony for 3PVROs to

keep a voter’s contact information, id. § 97.0575(7); required 3PVRO

volunteers to provide their full name in writing to every voter they help

to register, id. § 97.0575(4); and imposed steep new fines for minor

compliance violations while shortening the deadline for 3PVROs to turn

in applications, id. § 97.0575(5).

       These four provisions have concretely injured many 3PVROs,

including the League of Women Voters of Florida (the League or

LWVFL). At trial, the League showed that each of the provisions directly

impedes its mission of registering more voters. The laws will lead

volunteers to quit, and those who stay will have to follow cumbersome



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new rules, limiting their ability to connect with and register voters. The

League likewise has spent and will need to spend its scarce resources—

time and money—to ensure compliance, to avert fines that could exceed

its annual budget, and to avoid putting its members at risk of criminal

prosecution.

     The challenged provisions have thus left the League between a rock

and a hard place: risk financial ruin for the League, as well as felony

prosecution and harassment of its members, or modify its voter

registration method. Faced with that painful choice, the League decided

to, at least temporarily, stop registering voters using paper registration

forms, and instead register them online. This has helped the League

avoid the penalties of SB 7050, but has itself led to serious harms: fewer

registered voters, fewer events, more costs, and less effective fundraising,

to name a few.

     None of those burdens were necessary. The League and almost all

other 3PVROs rigorously follow the rules, and the few mistakes that

some groups have made have not compromised either citizens’ right to

vote or the State’s election administration system.




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        At trial, the State tried to cast 3PVROs as bad actors responsible

for widespread misconduct in Florida’s elections. But the evidence simply

is not there. Many of the examples of election-related wrongdoing the

State cited had nothing to do with 3PVROs. Those few incidents that did

largely involved a single 3PVRO whose canvassers were identified and

prosecuted under law that predated SB 7050.

        Even more troubling, the four challenged provisions are not

targeted at the small amount of misconduct that has come from 3PVROs.

Rather, they would achieve their unstated purpose: to make it even

harder for Floridians to band together to help more people register to vote

and participate in democracy in this state. Thus, the four challenged

provisions should all be permanently enjoined.

II.     Standing1

        The League proved at trial that it has organizational and

associational standing to challenge each of the four provisions at issue.



1 In this Part, “the League” or “LWVFL” refers to the LWVFL Education

Fund, organized under Internal Revenue Code § 501(c)(3), which
conducts the organization’s voter registration activities. Trial Tr. vol. 4,
1200:7–12, 1200:25–1201:3 (Scoon). Because LWVFL Education Fund
has standing for each claim upon which relief is sought, the court need
not address whether LWVFL Inc., organized under § 501(c)(4), separately


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First, the League demonstrated organizational standing by showing that

each provision “directly impedes” the League’s “ability to accomplish [its]

mission[].” Fla. State Conf. of Branches & Youth Units of the NAACP v.

Byrd, 680 F. Supp. 3d. 1291, 1309 (N.D. Fla. 2023). Separately, the

League has organizational standing because it has had to and will

continue to divert time and resources to counteract the harms inflicted

by each of the challenged provisions. See Arcia v. Fla. Sec’y of State, 772

F.3d 1335, 1341–42 (11th Cir. 2014). The League likewise demonstrated

that it has associational standing because: (1) its members would have

standing to sue on their own; (2) the interests at stake are related to

LWVFL’s purpose; and (3) the participation of individual members is not

required. See Dream Defenders v. Governor of the State of Fla., 57 F.4th

879, 886 (11th Cir. 2023).




has standing. See, Fla. ex rel. Atty. Gen. v. U.S. Dep’t of Health and
Human Servs., 648 F.3d 1235, 1243 (11th Cir. 2011) (“The law is
abundantly clear that so long as at least one plaintiff has standing to
raise each claim—as is the case here—we need not address whether the
remaining plaintiffs have standing.”). Regardless, LWVFL Inc. also has
standing to challenge all four provisions, based on the time and resources
spent advocating against their adoption. See Trial Tr. vol. 4, 1200:13–24,
1208:25–1210:10 (Scoon) (recounting LWVFL Inc.’s efforts writing to the
Governor and testifying before the Legislature).

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      A plaintiff satisfies the injury-in-fact requirement by showing that

it “has sustained” a direct injury already as the result of a challenged

law, Corbett v. Transp. Sec. Admin., 930 F.3d 1225, 1232 (11th Cir. 2019)

(internal quotation marks omitted), or that it is “immediately in danger

of sustaining some direct injury.” Lynch v. Baxley, 744 F.2d 1452, 1456

(11th Cir. 1984) (internal quotation marks omitted); see also, e.g., City of

S. Miami v. Governor, 65 F.4th 631, 636–37 (11th Cir. 2023) (an

organization suffers actual injury where it can establish that it has

“already been harmed” by a challenged law). Here, the League has shown

that it sustained injury immediately after enactment of the four

challenged provisions, that it is being injured right now, and that it is in

immediate danger of further injury.

      A.    Online Registration

      At the outset, testimony established the serious burdens created by

each of the four challenged provisions, such that each provision on its

own would likely have led the League to cease its traditional paper

registration activities and move to online-only registration.2 See Parts



2 As explained by the League’s statewide Co-President, Cecile Scoon,
“online registration” refers to a method of voter registration in which the


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II.B.–II.E, infra. Switching to online registration was not a capricious

decision—it was a “very, very painful” choice that sharply divided League

members. Trial Tr. vol. 4, 1224:15–1225:23 (Scoon); see also, e.g., Trial

Tr. vol. 4, 1344:4–24 (Elliott). But as explained in more detail in Parts

II.B.–II.E, that decision was necessary: continuing with paper

registration could have subjected League members to felony prosecution

for simply retaining a voter’s contact information. It would have required

members to identify themselves to the public against their will, even after

facing harassment and intimidation in the past. And aside from those

very real fears, the laws could subject the League to astronomical

financial penalties, threatening its very existence. Further, it would have

required the League to question its members about their citizenship

status, a prospect antithetical to the League’s mission.3



League assists voters with registering online, as well as distributing
blank voter registration forms, along with pre-addressed envelopes with
stamps. Trial Tr. vol. 4, 1212:11–1214:13 (Scoon).
3 This Court previously held that the League’s “decision to cease paper-

registration activities” in part due to the Felony Volunteer Restriction,
Fla. Stat. § 97.0575(1)(e), was a “self-imposed injury based on [a]
speculative fear.” League of Women Voters of Fla. v. Moody, 4:23-cv-
00216, ECF No. 95 at 7 (N.D. Fla. Feb. 13, 2024). The same is not true
here: the Receipt, Retention, and 3PVRO Fines Provisions indisputably
affect the League’s core voter registration activity. And as explained in


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     That transition to online registration, compelled by the four

challenged provisions, has concretely harmed the League: its mission is

seriously impeded, its members’ rights to free speech and association are

infringed, and it has diverted resources toward the transition.

           1.    Organizational Standing

                 a.    Direct injury

     Without question, the switch to online registration has directly

impeded the League’s mission of registering voters. Trial Tr. vol. 4,

1198:10–16, 1220:20–1221:5 (Scoon); see also League of Women Voters v.

Cobb, 447 F. Supp. 2d 1314, 1325, 1339 (S.D. Fla. 2006) (finding

irreparable injury after law forced the League to “impose[] a moratorium

on voter registration”). Since the switch, “[t]he numbers have really gone

down” for a host of reasons. Trial Tr. vol. 4, 1220:20–23 (Scoon).

     First, a potential voter cannot register online if they do not have a

driver’s license or state identification card, meaning that the League

cannot register many people they approach. Trial Tr. vol. 4, 1219:21–

1220:4 (Scoon); Trial Tr. vol. 4, 1365:11–21 (Elliott). This is an especially


Part II.E., enforcing the Citizenship Provision would also create serious
First Amendment harms, leading the League to lose volunteers, complete
fewer registrations, and pay compliance costs.

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big problem for “Black and Brown and Hispanic communities,” as well as

younger voters, who are less likely to possess the required identification.

Trial Tr. vol. 4, 1225:24–1226:9 (Scoon); Trial Tr. vol. 4, 1365:11–21

(Elliott). In some areas, including the “burgeoning community in Central

Florida” with many immigrants from Puerto Rico, “a high percentage

cannot use the digital” method of registration, and paper registration

would be much more effective. Trial Tr. vol. 4, 1277:2–15, 1286:9–1287:20

(Scoon). Thus, online registration not only hampers the League’s general

mission of registering more voters, but also its efforts to target the

underserved Hispanic community, both in registering voters and

recruiting members. Id. at 1225:24–1226:22, 1286:25–1287:20 (Scoon).

     Second, online registration leads to fewer registrations because it

requires retraining, as well as additional time and effort for volunteers.

After the challenged provisions were enacted, all League volunteers were

decertified and required to retrain and take a new quiz geared toward

online registration before they could register any voters. Id. at 1211:22–

1212:10 (Scoon). Fewer volunteers were thus available to perform voter

registration services. Id. The “learning curve” for the new method, in

turn, led to fewer registration drives. Id. at 1220:20–1221:5 (Scoon).



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      Third, the League registers fewer voters at the drives that do occur

because the online system makes it more difficult to register multiple

voters. If a local League can only afford to bring two digital tablets to a

registration drive, volunteers can only help two voters at once; those

waiting in line may “walk away.” Id. at 1220:5–19 (Scoon). If the League

were using paper registration forms, volunteers could pass them out to

everyone waiting in line and “march them through together.” Id.

      Several other obstacles hinder the effectiveness of online

registration: as Dr. Monica Elliott testified, 4 some people, especially older

voters, are uncomfortable with using digital devices. Trial Tr. vol. 4,

1365:22–1366:3 (Elliott). While those and other voters can be given blank

registration forms with envelopes, the League cannot ensure that the

voter actually mails the envelope to the correct state office. Trial Tr. vol.

4, 1215:14–17 (Scoon). And many voters want to update their existing

registration with a new signature, but there is no way to do that online.

Trial Tr. vol. 4, 1366:4–18 (Elliott).




4 Dr. Elliott is the League’s Secretary and Voter Services Chair, as well

as local Broward County League chapter Co-President and Voter
Services Chair, Trial Tr. vol. 4, 1338:18–25 (Elliott).

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     Aside from directly impeding the number of voters the League can

register, online registration hinders the League’s effectiveness in other

ways. Because the League cannot track its completed online registrations

like it can with paper, League leadership cannot determine which local

Leagues are performing well and which need more education or

resources. Trial Tr. vol. 4, 1214:18–1215:17 (Scoon). Further, it is more

difficult to attract financial donations crucial to the League’s operation

when the League cannot prove its effectiveness by pointing to the number

of voters it has helped to register. Id. at 1216:5–8 (Scoon).

                 b.    Diversion of resources

     Trial evidence established that LWVFL has diverted, and will

continue to divert, significant time and resources toward transitioning to

online registration.

     The League has already spent countless hours ramping up its

online registration operation: each volunteer needed to be trained to

perform online registration and take a quiz showing they could lawfully

do so; some volunteers have not yet done that. Id. at 1211:22–1212:10,

1217:4–8, 1221:7–1222:3 (Scoon). The training included webinars,

PowerPoint presentations, videos, and “two-pagers” to explain the new



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process. Id. at 1221:10–23 (Scoon). Those same League leaders answered

“hundreds of emails” from members across the state about the new

method. Id. at 1221:24–1222:3 (Scoon). Ms. Scoon also spent time on

fundraising, including by editing fundraising letters, so the League could

finance the transition to online registration. Id. at 1219:1–8 (Scoon); see

also, e.g., PX 798 at 1 (requesting money to “fund[] hot spots and digital

devices so that the League can shift from collecting paper applications to

register people to vote online”).

     That is all time League members would otherwise have spent

working on “restoration of voting rights for persons with felony

convictions,” including training Florida lawyers and law students to

provide pro bono services to returning citizens. Trial Tr. vol. 4, 1222:25–

1223:21 (Scoon). That time also would also have been devoted to “getting

the right for women to have an abortion without governmental

interference on the ballot and educating people about that.” Id. at

1224:5–14 (Scoon) (“[T]hose two programs . . . are suffering. We are not

giving them the full force of our effort and time and focus because we’ve

taken away a lot of focus and time on 7050.”).




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     The financial costs of switching to online registration are major:

some larger local Leagues have spent $1,000 to $2,000 to buy digital

tablets and hot spots to facilitate online registration. Id. at 1216:21–24

(Scoon). But many local Leagues do not yet have the funding to do that;

when they do, each will need to spend about $200 to buy a hot spot and

$20–$40 per month to pay for its service, in addition to the cost of tablets.

Id. at 1216:11–20 (Scoon). The League has also begun to buy envelopes

and stamps so voters can mail their own applications, and will spend

$3,000–$4,000 per year on those. Id. at 1219:13–20 (Scoon). That money

has been and will be diverted from printing materials to distribute to

voters about various issues, such as education or reproductive rights,

which “local Leagues really need.” Id. at 1222:13–1223:14 (Scoon).

           2.    Associational Standing

     League members, including Ms. Scoon and Dr. Elliott, also have

standing to sue on their own based on the compelled transition to online

registration. First, after SB 7050 was passed, each League volunteer was

de-certified, meaning that they could no longer register voters at all for

some time. Id. at 1211:22–1212:10 (Scoon). Each one who wanted to

resume registering voters was required to undergo new training and re-



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take the certification quiz. Id. Ms. Scoon and Dr. Elliott in particular

spent dozens of hours studying the law and coordinating the volunteer

training. Id. at 1211:7–21 (Scoon).

     League membership was divided about whether to continue with

paper registration. Id. at 1224:15–1225:23 (Scoon). Those members who

wanted to continue registering voters using the traditional paper method

were completely unable to do so. And all voter registration volunteers

have suffered harm due to the switch: they have registered voters at a

lower rate, especially in target communities. Id. at 1220:20–23, 1225:24–

1226:9 (Scoon). Thus, their ability to speak and associate with members

and other voters has been significantly curtailed.

     B.    The Receipt Provision

           1.    Organizational Standing

                 a.    Direct injury

     The Receipt Provision directly impedes the League’s ability to

accomplish its mission. It requires League volunteers who collect voter

registration applications to provide a receipt to each voter that includes,

inter alia, the volunteer’s full name in writing. Fla. Stat. § 97.0575(4).

Complying with the provision will create significant problems for the



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League that will reduce the number of volunteers willing to register

voters and reduce the number of voters the League can register. Trial Tr.

vol. 4, 1369:2–7, 1369:12–15 (Elliott).

     With the Receipt Provision in effect, the League will register fewer

voters because its volunteers will need to spend about one extra minute

filling out and copying a receipt5 every time they register a voter, which

will decrease their capacity to register additional voters. Trial Tr. vol. 4,

1229:5–14, 1231:4–1232:1 (Scoon). Because completing a registration

takes just a few minutes for many voters, one extra minute spent on the

receipt increases the time spent with each voter by a large percentage,

seriously reducing the number of voters that volunteers can approach.

Id. at 1229:5–14 (Scoon); see also Fla. State Conf. of N.A.A.C.P. v.

Browning, 522 F.3d 1153, 1166 (11th Cir. 2008) [hereinafter Browning I]

(“The net effect is that the average cost of registering each voter




5 The League would plan to copy receipts to prove compliance with the

Receipt Provision and maintain accurate records; however, it is
concerned that keeping copies of the receipt would violate the Retention
Provision’s ban on retaining any voter’s “personal information,” given the
vagueness of that term. Trial Tr. vol. 4, 1229:15–1230:16 (Scoon); see also
Part III.D.1.b, infra.

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increases, and because plaintiffs cannot bring to bear limitless resources,

their noneconomic goals will suffer.”).

     The League will also register fewer voters because fewer members

will be willing to volunteer due to legitimate fears of harassment and

intimidation. Many League members have a bona fide fear of providing

their full name to applicants they do not know, due to experiences of

harassment at voter registration drives, fears of prosecutions by the

Office of Election Crimes and Security (OECS), and phishing scams

targeting League members. Trial Tr. vol. 4, 1234:2–1237:3, 1237:5–15,

1239:16–1244:5, 1300:10–25 (Scoon); Trial Tr. vol. 4, 1349:24–1353:8,

1354:23–1356:5 (Elliott).

     League members testified at trial about harassment they

experienced at voter registration drives from individuals who were “very

angry,” “very hostile and argument[at]ive,” who returned multiple times

to harass them after leaving or being escorted away, and whose

threatening demeanor necessitated calling law enforcement. Trial Tr.

vol. 4, 1234:2–1237:3, 1300:10–25 (Scoon); Trial Tr. vol. 4, 1349:24–

1353:8, 1354:23–1355:20 (Elliott). These members—whose identities as

League volunteers are not otherwise made public, Trial Tr. vol. 4,



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1372:10–12 (Elliott)—do not want to be forced to give their full names, in

writing, to every person they assist, including those who seem

threatening. See, e.g., Trial Tr. vol. 4, 1234:2–1237:3 (Scoon); Trial Tr.

vol. 4, 1350:16–18, 1353:6–8 (Elliott). 6

     Because of their concerns, fewer members and volunteers are likely

to engage in voter registration activity with the League if they must

comply with the Receipt Provision. Trial Tr. vol. 4, 1243:6–1244:5,

1249:2–19 (Scoon); Trial Tr. vol. 4, 1344:4–24, 1367:1–1368:7, 1369:2–7,

1369:12–15 (Elliott). And the percentage of volunteers lost will be

substantial, gutting the League’s voter registration abilities. Trial Tr.

vol. 4, 1243:6–1244:5 (Scoon) (“We are well aware that we would probably

lose – at least 20 percent of the people doing voter registration would be

unwilling [because of the Receipt Provision]”); Trial Tr. vol. 4, 1367:1–

1369:15 (Elliott) (14 out of the 21 voter services leaders polled would be

unwilling to return to paper registration due to the Receipt Provision).


6 The suggestion that League members could refuse to register those who

make them uncomfortable is antithetical to the League’s commitment to
register all eligible voters, and it creates a host of additional First
Amendment harms. Trial Tr. vol. 4, 1371:12–14 (Elliott) (“Q. You would
not have to help register [a man who was hostile toward the League] to
vote, would you? A. We would not have to, but we would because we don’t
discriminate in terms of who comes up to the table.”).

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                 b.    Diversion of resources

     The League began diverting resources due to the Receipt Provision

immediately upon its enactment, including by “educating volunteers . . .

on compliance” with the law. Browning I, 522 F.3d at 1166. 7 First, League

leaders read and analyzed the language of the Receipt Provision to

determine how to comply. Trial Tr. vol. 4, 1210:11–1212:10, 1228:21–

1229:4 (Scoon); Trial Tr. vol. 4, 1340:5–1344:24, 1347:8–23 (Elliott). They

held internal meetings, discussed the requirement at their statewide

convention, and polled members to determine if and how they could

proceed with paper registration. Trial Tr. vol. 4, 1340:21–1341:5, 1342:1–

12 (Elliott). Two members of League leadership, alone, spent at least 20

hours on the immediate response to the Receipt Provision specifically.

Trial Tr. vol. 4, 1229:2–4 (Scoon); Trial Tr. vol. 4, 1347:8–11 (Elliott).

These activities diverted time away from Dr. Elliott’s project of

“developing PowerPoints and educational materials” for the League’s

public voter education, Trial Tr. vol. 4, 1347:12–23 (Elliott), as well as


7 The League’s diversion of resources to address the Receipt Provision

immediately upon enactment of SB 7050 is sufficient to confer standing.
City of S. Miami, 65 F.4th at 636–37 (organization suffers actual injury
when it has “already been harmed” by a challenged law). The same is
true with the other three challenged provisions.

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from the League’s “Community Conversations,” where the League has

tried to “bring civility back to people being on different sides of an issue,”

Trial Tr. vol. 4, 1245:5–1246:4 (Scoon).

     The Receipt Provision will lead to additional resource diversion at

paper registration drives. The League will need to pay to print thousands

of receipts and create receipt books to copy those receipts by “carbonless”

copy. Id. at 1230:17–1231:3, 1232:2–15 (Scoon). Because the receipt books

would need to be customized for and mailed to each local League, they

would cost at least $5,000 annually. Id. at 1232:2–15 (Scoon). That money

would otherwise be spent on buying T-shirts, banners, signs, and other

materials that ensure the League’s presence is visible at large events, as

well as paying for security at some of those events. Id. at 1244:6–1245:4

(Scoon).

      League leaders will likewise need to spend time training volunteers

to comply with the Receipt Provision and coordinating logistics, while

volunteers will spend time not only learning the Provision’s new

requirements, but filling out and copying receipts each time they collect

a registration application. Id. at 1229:5–1231:3, 1232:2–1234:1 (Scoon);

Trial Tr. vol. 4, 1347:24–1349:23 (Elliott). If not for that diversion, the



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League would spend more time planning and hosting its Community

Conversations. Trial Tr. vol. 4, 1245:5–1246:4 (Scoon).

                c.    Online registration

     Because of the serious burdens just discussed, the League was

compelled to switch to online registration to avoid them. Id. at 1248:20–

1249:19 (Scoon). If the League had continued performing voter

registration drives, the Receipt Provision would have led volunteers to

quit because of their fears of harassment or intimidation, and risked

subjecting remaining volunteers to such harassment. Id. at 1243:6–

1244:5, 1300:10–25 (Scoon); Trial Tr. vol. 4, 1349:24–1353:8, 1354:23–

1355:20 (Elliott). The League would have also had to spend significant

time and money to comply, as discussed supra.

     As discussed in detail in Part II.A, however, the transition to online

registration has also injured the League and its members: it has led to

fewer voter registrations, caused significant resource diversion, and

prevented members from speaking and associating with voters in the

most effective way possible. See Fla. NAACP, 680 F. Supp. 3d. at 1308,

n.12 (“The fact that a statute leaves open a more burdensome avenue of

communication does not relieve its burden on the targeted group.”).



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           2.    Associational Standing

     LWVFL also has associational standing to challenge the Receipt

Provision because individual League members have standing. First, the

Receipt Provision has a direct chilling effect on League members who

have a bona fide fear of complying with the receipt requirement,

including Ms. Scoon and Dr. Elliott themselves. Trial Tr. vol. 4, 1234:2–

1237:3, 1300:10–25 (Scoon); Trial Tr. vol. 4, 1349:24–1353:8, 1354:23–

1355:20 (Elliott). As a result of this fear, some of these members will not

engage in voter registration activity with the League, and those who do

will be forced to provide their name to every voter they assist, even when

they have serious misgivings. Trial Tr. vol. 4, 1243:6–1244:5 (Scoon);

Trial Tr. vol. 4, 1344:4–24, 1369:2–15 (Elliott). Second, several members

spent dozens of hours working on an immediate response to the

provision’s passage and creating a plan for the League’s compliance. Trial

Tr. vol. 4, 1228:21–1229:4 (Scoon); Trial Tr. vol. 4, 1340:5–1344:24,

1347:8–23 (Elliott). And once the League moved to online registration,

thousands of members were harmed: they registered fewer voters,

participated in fewer voter registration drives, and associated less with

other volunteers and voters because of the League’s modified practices.



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Trial Tr. vol. 4, 1365:6–1366:22, 1369:2–15 (Elliott). When the League

returns to paper registration, those same members will register fewer

voters because of the time and effort spent filling out and copying

receipts. Trial Tr. vol. 4, 1229:5–14, 1231:4–1232:1 (Scoon).8

     C.    The Retention Provision

           1.    Organizational Standing

                 a.    Direct injury

     If enforced, the Retention Provision will directly impede the

League’s mission. It will prevent the League from retaining any “personal

information,” including a voter’s basic contact information, such as their

address, phone number, or email address—even with the voter’s consent,

see Parts III.D.1.a., 2.a, infra (describing vagueness and overbreadth of

term “personal information”). This would severely impede the League’s

efforts to get out the vote, Trial Tr. vol. 4, 1255:11–121 (Scoon), recruit

members, id. at 1254:24–1255:7 (Scoon), and provide information to



8 For each of the challenged provisions, evidence also established that the

interests at issue are germane to LWVFL’s purpose, and this case does
not require participation of individual members. Each provision hinders
the League’s mission of registering voters, and the League’s interests
align with its members’ such that no individual participation is
necessary.

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members of the public about elections and political issues, id. at 1254:9–

15 (Scoon).

     Prior to enactment of the Retention Provision, the League routinely

collected voter registrants’ contact information. Id. at 1251:24–1252:12

(Scoon). During a voter registration event, League volunteers would

typically put out a sign-up sheet next to a sign offering more information

about the League. Id. at 1252:2–5 (Scoon). Anyone could write down their

name, contact information, and an area of interest covered by the League.

Id. at 1252:2–9 (Scoon). No one was required to provide any information

about themselves in order to register. Id. at 1252:9–12 (Scoon).

     The League used contact information from voters for various

purposes. First, “sometimes the citizens ask[ed the League] to remind

them of when elections are,” and follow-up contact would “oftentimes get

[them] more energized to vote for everything themselves.” Trial Tr. vol.

4, 1254:9–19 (Scoon); see also, e.g., Trial Tr. vol. 5, 1562:12–22

(Lichtman);   Fla.   NAACP,     680     F.   Supp.   3d.   at   1308   n.12

(“the targeted voter outreach made possible by retaining a voter’s contact

information is central to their purpose of increasing civic engagement”)




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(emphasis in original).9 But now, because the law “threatens [the

League’s] staff, members, and volunteers with felony prosecutions if they

copy or retain a voter’s personal information . . . [the League] will no

longer be able to carry out [its] mission of increasing political

participation by contacting voters they have registered.” Fla. NAACP,

680 F. Supp. 3d. at 1308 (emphasis in original); Trial Tr. vol. 4, 1254:9–

19 (Scoon) (the Retention Provision would “interfere with the League’s

goal of getting as many people to vote as possible”); see also, e.g., Trial Tr.

vol. 5, 1471:25–1472:17 (Lichtman).

      Second, the ban will prevent the League from recruiting voters to

become members. When applicants share their name and contact

information, they “often put, ‘Hey, I’d like to join the League.’” Trial Tr.

vol. 4, 1252:13–20 (Scoon). Indeed, the League gets at least one quarter

of its volunteers this way. Id. at 1252:13–24 (Scoon). It is crucial for the

League to steadily recruit members to stave off attrition resulting from a

largely older membership that frequently steps away from voter



9 Multiple other plaintiffs also attested to the value of collecting basic

contact information to follow up with applicants. See, e.g., Trial Tr. vol.
1, 97:6–20 (Nordlund); Trial Tr. vol. 4, 1161:16–1163:3, 1182:13–23
(Slater); Trial Tr. vol. 4, 1328:3–15 (Babis Keller).

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recruitment because of health issues or moves out of state to be closer to

family. Id. at 1255:14–1256:9 (Scoon). Thus, the Retention Provision will

create a huge obstacle to maintaining and expanding the League’s

volunteer network and, in turn, its ability to register voters.

     Third, the League routinely used voters’ contact information to

share requested information on issues of interest. Id. at 1252:2–12

(Scoon). If an individual expressed an interest in education, for example,

a League member would follow up to connect them with the League’s

action chair for education, as well as direct them to the League’s website,

which includes information on the League’s priority issues, descriptions

of activities, and notifications of upcoming events the public can attend.

Id. at 1253:2–16 (Scoon).

     Finally, if the Retention Ban goes into effect, League members will

be less willing to volunteer to register voters because of the threat of

felony prosecution associated with the retention of any voters’ personal

information. This, in turn, will restrict the number of voters the League

can register. Id. at 1255:3–21 (Scoon). Members’ fears are exacerbated by

the targeted prosecutions in Florida of certain 3PVROs and their

members. See id. at 1239:16–1241:3 (Scoon).



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                     b.   Diversion of resources

       Immediately after the Retention Provision was passed, the

League’s Co-Presidents and other members read and analyzed the

statute and spent hours meeting about compliance, researching how

potential criminal penalties could affect League members, and informing

League members about the new law. Id. at 1210:11–1211:4 (Scoon). The

League devoted a “large portion” of its response to SB 7050 solely to the

Retention Provision, in particular because violating it could lead to felony

prosecution of League members. Id. at 1251:19–23 (Scoon); see also

Browning I, 522 F.3d at 1166 (finding standing where organization

“divert[ed] personnel and time to educating volunteers”).10

       If the Retention Provision goes into effect, LWVFL “will divert

resources to mitigate the risk that [its] own staff, members, and

volunteers    will    face   felony   prosecutions   for   carrying   out   the

organization[‘s] practice of retaining voter information so that they can

later encourage them to vote in the future.” Fla. NAACP, 680 F. Supp. 3d



10 The League’s immediate response diverted time away from
development of public voter education materials, as well as its
Community Conversations program. Trial Tr. vol. 4, 1245:5–1246:4
(Scoon); Trial Tr. vol. 4, 1347:12–23 (Elliott).

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at 1308 n.11 (emphasis in original). LWVFL leadership will need to, once

again, amend its training materials, as well as reformulate the League’s

mandatory quiz for volunteers. Trial Tr. vol. 4, 1256:14–1257:2 (Scoon).

It will then need to organize additional sessions for its members to retake

the quiz. Id. at 1257:3–5 (Scoon). LWVFL leadership will also need to

spend time devising a new method to collect voter information if the

Retention Provision is enforced, to both meet voters’ informational needs

and to facilitate membership recruitment. Id. at 1258:19–1259:6 (Scoon).

The League’s Co-Presidents and other voter services leaders would need

to spend 15 to 20 hours each implementing new policies and practices

related to the Retention Provision. Id. at 1257:6–15 (Scoon).

     The time spent responding to the Retention Provision has diverted

and will divert valuable hours away from LWVFL’s other priorities. The

League chooses four legislative priorities each year and invites panelists

to speak on those topics; includes discussions of them in its voter guide;

and prepares in-depth presentations for citizens. Id. at 1257:16–24

(Scoon). In addition, the League hopes to inform citizens about two

initiatives that will be on the ballot in November 2024. Id. at 1257:16–

1258:3 (Scoon). The time spent on the response to the Retention Provision



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has prevented the League from spending sufficient time on those

priorities and will do so in the future if the law is enforced.

                 c.    Online registration

     Before the Retention Provision was enjoined, its passage as part of

SB 7050 forced the League to transition to online registration to avoid

the threat of felony prosecution. Id. at 1258:15–18 (Scoon). If the

Retention Provision is upheld, it alone may lead the League to continue

using online registration only. Id. at 1258:15–1259:6 (Scoon). The League

does not want to risk felony prosecution of one of its members or lose

members due to that fear, and if a volunteer were prosecuted, it could

have debilitating effects on the League’s voter registration program and

its ability to recruit new members. Id. at 1255:3–21 (Scoon). Moreover,

the vagueness of the term “personal information,” see Part III.D.1.a,

infra, leaves the League uncertain how to avoid such prosecution. Trial

Tr. vol. 4, 1251:1–15, 1258:9–14 (Scoon). Further, it is vital that the

League continue collecting voters’ contact information to recruit new

members, remind people to vote, and share information about political

issues, meaning that using online registration to avoid the Retention

Provision is necessary. Id. at 1251:24–1252:24, 1254:9–19 (Scoon).



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     For these reasons, the Retention Provision has and, if enforced, will

lead the League to only register voters online. As detailed in Part II.A.,

however, online registration creates its own concrete injury to the League

and its members. See Fla. NAACP, 680 F. Supp. 3d. at 1308 n.12. The

Retention Provision, just as with all the other challenged provisions,

leaves the League between a rock and a hard place.

           2.    Associational Standing

     The League also has associational standing to challenge the

Retention Provision on behalf of its members. Every voter registration

volunteer risks a third-degree felony prosecution for retaining a voter’s

personal information, even if it is done by accident or with the voter’s

express consent. Trial Tr. vol. 4, 1258:9–14 (Scoon). The League expects

that such threat of felony prosecution will “severely” affect members’

willingness to register voters, as “[n]o League member wants to be

accused of a felony.” Id. at 1254:20–1255:21 (Scoon).

     The Retention Provision will likewise prevent League members,

including Ms. Scoon and Dr. Elliott, from connecting with voters to

provide them with information about future elections, political issues,

upcoming events, and the League itself. Id. at 1254:9–19 (Scoon).



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Members will also be injured because they will have to undergo

retraining to ensure their understanding of and compliance with the

challenged provisions—including retaking the League’s mandatory quiz

to be able to continue registering voters at all. Id. at 1256:14–1257:5

(Scoon). Moreover, the real risk of felony prosecution under the Retention

Provision could force the League to continue online registration, which

prevents members from speaking and associating with voters in the most

effective way. See Part II.A, supra.

     D.    The 3PVRO Fines Provision

           1.    Organizational Standing

                 a.    Direct injury

     Trial evidence established that the 3PVRO Fines Provision impairs

the League’s ability to carry out its mission. The law increased nearly

every fine 3PVROs could incur while shortening the deadline for

returning applications from 14 to ten days. The law now imposes fines of

$50 per application per day beyond the new ten-day deadline, up to

$2,500; $100 per application per day late, up to $5,000, if delivered after

book closing, and $500 per application not submitted to the applicant’s

county of residence. Fla. Stat. § 97.0575(5)(a). The Provision likewise



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imposes fines of $2,500, $5,000, and $5,000, respectively, for “willful”

noncompliance. Id. And it raises the aggregate cap for total fines from

$50,000 to $250,000 11—roughly the amount of the League’s annual

budget. Trial Tr. vol. 4, 1199:23–25 (Scoon).

      The combination of the ten-day deadline with increased fines will

lead to a decrease in the number of voters the League can register. This

is in part because the League will instruct volunteers that applications

must be hand-delivered to county supervisors, so volunteers should not

accept applications if they “don’t have the capacity to turn it in . . . within

a certain amount of time” or if a voter from a different county wants to

register—the risk of a substantial fine for a late or misdelivered

application would be too high. Id. at 1262:15–1263:17 (Scoon). 12 Further,

local League leaders would need to make more frequent trips to turn in

application forms, and more time in the car would mean “a likely




11 This cap applies only to the fines “pursuant to this paragraph,” Fla.

Stat. 97.0575(5)(a), and so does not limit the $50,000 fines for League
volunteers based on citizenship status, id. § 97.0575(1)(f).
12 The prospect of having to turn away any applicants is antithetical to

the League’s mission to help register to vote as many eligible Floridians
as possible. See Trial Tr. vol. 4, 1198:10–18, 1371:12–14 (Scoon).

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decrease in the amount of people” the League can register. Id. at 1266:10–

18 (Scoon).

     The League would also have fewer volunteers to engage in its

drives, leading to fewer voter registrations. When financial penalties are

increased, the League has “had more difficulty filling those [volunteer]

slots and getting things done, which has made it more difficult to host as

many voter registration events as we would like to.” Id. at 1266:22–

1267:4 (Scoon). Moreover, because the League would have to retrain its

volunteers, the number of people available to register voters would drop,

at least until all volunteers could be recertified. Id. at 1265:22–25 (Scoon)

(“We would host another quiz and have all of our members who want to

do voter registration pass the new quiz”).

                 b.    Diversion of resources

     League leaders spent time in the immediate aftermath of SB 7050

analyzing the bill—including the 3PVRO Fines Provision—informing

members about the content of the new law and answering “hundreds of

emails” with questions from League members across the state, among

other things. Id. at 1210:11–1212:10, 1221:10–1222:3, 1266:2–9 (Scoon).




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Ms. Scoon spent “at least 20 hours” of her time personally analyzing the

3PVRO Fines Provision and responding to it. Id. at 1261:22–25 (Scoon).

     Operating under the 3PVRO Fines Provision will require the

League to spend extra time to ensure compliance and avoid devastating

fines—it would “end up with more oversight and more structure of

reviewing what’s going on at the table.” Id. at 1262:11–1263:2 (Scoon).

The League will need to spend about 20 hours to retrain its volunteers to

be able to meet the new ten-day deadline, and to review applicants’

county of residence before accepting a completed application. Id. at

1265:16–1266:6, 1262:11–1263:13 (Scoon). Further, League members

will need to make more trips to county supervisors’ offices to ensure

applications are timely submitted. Id. at 1263:20–1264:14 (Scoon). Those

trips will take more time and will require local League leaders to spend

more money on gas. Id. at 1264:11–14 (Scoon).13




13 The League has determined that sending the applications by mail is

not reliable or quick enough to meet the ten-day deadline. Trial Tr. vol.
4, 1264:23–1265:12 (Scoon); Trial Tr. vol. 4, 1360:25–1361:9. If volunteers
did mail applications rather than deliver them personally, the League
would incur significant postage costs to ensure fast delivery. Id. at
1265:13–15 (Scoon).

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     If not for the 3PVRO Fines Provision, the League would spend its

time working to ensure access for members to training programs and

raising money to fund sending postcards to returning citizens. Id. at

1270:4–1271:3 (Scoon). The League would be able to spend the money

used to comply with the 3PVRO Fines Provision to fund that same

postcard program. Id.

                 c.     Online registration

     The 3PVRO Fines Provision is a “showstopper” for the League and

could have a “devastating impact”—a $250,000 fine would shut the

League down. Id. at 1267:5–10, 1271:2–13 (Scoon). Even a fine of $20,000

would have a momentous impact, and “put a lot of fear and concern” in

the minds of League members. Id. at 1267:11–20 (Scoon). Even a $2,500

fine “could be half of a local league’s annual budget.” Id. at 1267:21–

1268:5 (Scoon). Thus, it is “[v]ery, very likely” that the 3PVRO Fines

Provision on its own would have led the League to switch to online

registration, at least temporarily. Id. at 1271:25–1272:6 (Scoon).

     That change was necessary not only because of the amount of

possible fines and the ten-day deadline, but because the fines regime

makes the League strictly liable for problems outside its control. For



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example, even before the 3PVRO Fines Provision was passed, OECS

fined 3PVROs for submitting applications to the wrong county, even

though the voter identified it as their county of residence. Trial Tr. vol. 2,

649:03–12 (Vilar). One organization was fined $26,000 for such

deliveries, without any indication a voter was disenfranchised. See PX

894; Trial Tr. vol. 2, 546:21–547:20 (Wassmer). If a League volunteer

collected an application and later realized the voter wrote the wrong

county on the form, she would be “between [a] rock and [a] hard place”—

the League could be fined $5,000 for “willfully” submitting that form to

the county that the voter included on the form, or, if the volunteer cannot

meet with the voter in time to correct the error, the League may be fined

$2,500 for submitting the application more than ten days late. Trial Tr.

vol. 4, 1362:1–17, 1364:22–1365:5 (Elliott). More fundamentally, the

League cannot even be sure what it means to “act willfully” given the

vagueness of the statute, and does not know whether the increased fines

for acting willfully apply daily or in addition to the standard fines. Trial

Tr. vol. 4, 1268:12–1269:8 (Scoon); see also Part III.D.1.c.




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     The League is using online registration to avoid potentially

catastrophic penalties, but for the reasons described in Part II.A., the use

of online registration harms the League as well.

           2.    Associational Standing

     Evidence at trial also established that the League has associational

standing to challenge the 3PVRO Fines Provision. League members,

including Ms. Scoon and Dr. Elliott, spent hours of their time responding

to the 3PVRO Fines Provision and helping inform other members and

volunteers about its requirements. Trial Tr. vol. 4, 1261:19–25 (Scoon).

Because the 3PVRO Fines Provision forced the League to cease paper

drives, those same League members have likewise been unable to

register voters effectively due to the switch to online registration. See

Part II.A, supra. And if the League does return to paper registration,

members will need to undergo additional training, follow stricter

compliance rules, and make additional trips to county offices to turn in

registration forms. Trial Tr. vol. 4, 1262:11–1264:14, 1265:16–1266:7

(Scoon). With that extra work and time, and because the League may

need to turn some voters away rather than risk serious fines for late or




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misdelivered applications, League members will be able to register fewer

voters. Id. at 1262:15–1264:10 (Scoon).

     E.    The Citizenship Provision

           1.    Organizational Standing

                 a.    Direct injury

     The Citizenship Provision will also impair LWVFL’s mission, and

will grievously harm the League if it is enforced. Complying with the law

would force the League to violate its policies and values by asking every

volunteer about their citizenship status. Id. at 1272:25–1274:14, 1280:5–

1281:19 (Scoon); Trial Tr. vol. 4, 1359:12–20 (Elliott). Even if the League

chose to do that, it would lose volunteers who refuse to answer or find the

question inappropriate. Trial Tr. vol. 4, 1274:20–1275:4, 1281:20–

1282:15 (Scoon); Trial Tr. vol. 4, 1343:13–17, 1359:12–20, 1368:4–9,

1369:8–15 (Elliott). This particularly harms an organization composed of

volunteers, like the League. In the words of Ms. Scoon:

     We would lose the woman and the manpower to do the voter
     registration because people would take a principle[d] stance
     on [the Citizenship Provision]. The League is made up of
     people who act on their principles. We are not being paid. We
     do not get a check. We do not get brownie points in our church
     or whatever things we do. We are doing this for our internal
     sense of well-being and wanting to make our state and our
     communities better.


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Trial Tr. vol. 4, 1282:3–10 (Scoon).

     The League will register fewer voters if it operates with fewer

volunteers and is unable to collaborate with other organizations, such as

Poder Latinx, who may have noncitizen members. Id. at 1275:5–1278:3,

1281:20–1282:15 (Scoon). The League will also register fewer voters due

to the logistical burdens the Citizenship Provision imposes: every new

volunteer will be required to sign a citizenship declaration, under penalty

of perjury, before attending their first registration event, which will take

time and planning from every local League. Id. at 1278:13–1279:17

(Scoon); PX 761.14 Finally, asking about a person’s citizenship status

prevents the League from being able to recruit new members from the

diverse communities they seek to reach. Trial Tr. vol. 4, 1280:5–1281:19

(Scoon).

                 b.    Diversion of resources

     When the Citizenship Provision became law, League leadership

devoted 15 to 20 hours to reading the provision, holding meetings to

assess the League’s potential liability, assessing League members’


14 Having to attest to one’s citizenship under penalty of perjury may itself

deter some volunteers from volunteering at all. See, e.g., Trial Tr. vol. 3,
915:21–916:5 (Eskamani).

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reactions to the requirement of citizenship declarations, and developing

a plan for how to keep registering voters. Trial Tr. vol. 4, 1272:19–24

(Scoon); see also Trial Tr. vol. 4, 1341:16–1342:12, 1343:13–17, 1367:6–

18, 1368:4–9 (Elliott) (testifying to polling League members on multiple

occasions regarding the Citizenship Provision).

     Conducting paper registration drives under the Citizenship

Provision will be dramatically different from before the law was passed,

costing the League valuable time: the League will need to retrain every

volunteer and local leaders; arrange a time for every volunteer to affirm

that he or she is a U.S. Citizen; and modify practices to ensure that there

is no risk of any volunteer who has not been vetted by the League

collecting even a single application. Trial Tr. vol. 4, 1278:4–1280:4

(Scoon); Trial Tr. vol. 4, 1358:17–1359:8 (Elliott). Creating these new

protocols would divert time away from creating new voter guides that

would cover the constitutional amendments that the Florida Supreme

Court recently allowed onto the ballot, Trial Tr. vol. 4, 1282:16–1283:16

(Scoon), as well as time spent on educational voter services, Trial Tr. vol.

4, 1359:9–11 (Elliott).




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     Printing and mailing the thousands of declarations needed for the

League’s voter services volunteers across Florida could cost thousands of

dollars, because of the postage alone. Trial Tr. vol. 4, 1279:21–1280:4

(Scoon). That expense would force the League to divert money away from

assisting local Leagues by providing banners and signs and paying for

printing expenses. Id. at 1283:20–1285:3 (Scoon).

                 c.    Online registration

     The Citizenship Provision itself would necessitate online-only

registration because of the “incredibl[e] overkill [of the] $50,000 fine,”

which would be “crushing.” Id. at 1289:12–18 (Scoon); see also Trial Tr.

vol. 4, 1358:8–16 (Elliott) (explaining that $50,000 is a “substantial”

amount of the statewide League’s annual budget and is double the

Broward County League’s annual budget). And even if the League were

able to avoid a fine, it would lose volunteers if it began requiring everyone

to affirm their citizenship under penalty of perjury, and it would still

need to pay significant costs to implement the requirement. Trial Tr. vol.

4, 1274:20–1275:4, 1279:21–1280:4, 1281:20–1282:15 (Scoon); Trial Tr.

vol. 4, 1343:13–17, 1368:4–9, 1369:8–15 (Elliott).




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     Indeed, for these reasons, the Citizenship Provision was part of the

reason the League transitioned to online registration in 2023, before the

Provision was enjoined. Trial Tr. vol. 4, 1289:6–11 (Scoon). As detailed

above, however, the switch to online registration has also concretely

injured the League. See Part II.A, supra.

           2.   Associational Standing

     League members have standing to challenge the Citizenship

Provision due to the time and resources devoted to reading the law and

assessing how to operate under it. Trial Tr. vol. 4, 1272:19–24 (Scoon);

Trial Tr. vol. 4, 1339:25–1344:24 (Elliott). Members have also suffered

concrete injury from being forced to use only the less-effective online

registration method. See Part II.A, supra.

     Members who engage in paper voter registration under the

Citizenship Provision will be forced to undergo additional training and

attest to their citizenship under penalty of perjury, and they will be

unable to work with volunteers who are not citizens or other

organizations who may have noncitizen members. Trial Tr. vol. 4,

1275:5–1280:4, 1281:20–1282:15 (Scoon); Trial Tr. vol. 4, 1358:17–

1359:10 (Elliott). Moreover, noncitizen members of the League will be



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prohibited from engaging in voter registration. Trial Tr. vol. 4, 1274:7–9

(Scoon); Trial Tr. vol. 4, 1359:12–20 (Elliott) (describing how the League

has never asked about its members’ citizenship status because doing so

would not conform with the League’s values, so it cannot quantify the

number of affected members).

     F.    The League’s Injuries Are Fairly Traceable to
           Defendants, and Redressable Through a Permanent
           Injunction

     The League’s injuries are traceable to both the Secretary of State

and the Attorney General, such that a permanent injunction prohibiting

both Defendants from enforcing the challenged provisions would redress

the League’s injuries.

           1.    Secretary of State

     The Secretary of State does not dispute that the League’s injuries

are traceable to his authority to enforce all four of the challenged

provisions. See Fla. Stat. §§ 97.0575(8), (12). Neither the facts nor the law

have changed since SB 7050 was passed with respect to the Secretary’s

enforcement authority, and there is no evidence in the record that the

Secretary will not enforce any of the penalties accompanying the




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challenged provisions. 15 Accordingly, as a matter of law, the League’s

injuries are fairly traceable to Defendant Byrd’s threatened enforcement

of the challenged provisions.

       The League has likewise shown that an injunction prohibiting the

Secretary of State from enforcing the challenged provisions would redress

the League’s injuries. Removing the threat of enforcement would allow

the League to register voters without fear of the Secretary penalizing the

organization with devastating fines, automatic cancellation of its

registration, or further civil enforcement actions based on referrals to the

Attorney General.

             2.   Attorney General

       The League’s injuries are likewise traceable to the Attorney

General, and redressable through an injunction barring her office from

enforcing the challenged provisions.

       Florida law gives the Attorney General’s Office of Statewide

Prosecution authority to investigate and prosecute voting-related crimes,



15 Indeed, given that the Secretary—and the Attorney General—has
“vigorously defended” the challenged provisions in court, “‘an intent to
enforce [the challenged provisions] may be inferred.’” Wollschlaeger v.
Governor, Fla., 848 F.3d 1293, 1305 (11th Cir. 2017) (citation omitted).

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including those involving voter registration, Fla. Stat. § 16.56(1)(c); see

also Trial Tr. vol. 3, 812:7–15, 813:17–814:1, 825:25–826:10 (Cox), and

the Office is exercising that statutory authority, Trial Tr. vol. 3, 813:6–8

(Cox). The Retention Provision—which carries third-degree felony

penalties, Fla. Stat. § 97.0575(7)—clearly falls within the Attorney

General’s authority to investigate and prosecute registration-related

crimes, Fla. Stat. § 16.56(1)(c)(5). Accordingly, the League’s injuries from

the Retention Provision are fairly traceable to Defendant Moody.

      In addition, § 97.0575 specifically authorizes the Attorney General

to “institute a civil action for a violation” or “to prevent a violation” of any

of the challenged provisions. Fla. Stat. § 97.0575(8) (“An action for relief

may include a permanent or temporary injunction, a restraining order,

or any other appropriate order.”); see also Trial Tr. vol. 3, 827:20–22,

837:11–25 (Cox). Based on the plain language of the statute, the Attorney

General’s civil enforcement authority is not dependent on a referral from

the Secretary of State. See Fla. Stat. § 97.0575(8); see also Trial Tr. vol.

3, 828:7–9, 828:13–19 (Cox) (“there’s nothing in there that says it

requires the Secretary of State”; “there’s not wording in there that says




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it must come from the Secretary of State”).16 Accordingly, the League

faces an independent threat of civil enforcement by the Attorney General,

including injunctions and restraining orders that could force the League

to halt its voter registration operations altogether. 17

     Florida law also requires the Attorney General to issue official

opinions and legal advice when requested by state attorneys or certain

Florida state officials—including the Secretary of State. See Fla. Stat. §§

16.01(3), 16.08. The Attorney General thus has the duty, when asked, to

clarify the meaning or reach of the challenged provisions, and the scope

of the Secretary of State’s duties with respect to them. Such

interpretations would, in turn, bind both civil and criminal enforcement,

including any complaints or actions brought against the League or its



16 At a minimum, the Attorney General’s authority to act “to prevent a

violation” does not depend on a referral from the Secretary of State, as
the Secretary’s authority covers only violations already committed. See
Fla. Stat. § 97.0575(8) (“If the Secretary of State reasonably believes that
a person has committed a violation of this section, the secretary may refer
the matter to the Attorney General for enforcement.”) (emphasis added);
see also Trial Tr. vol. 3, 828:24–829:4 (Cox) (testifying that the Secretary
does not have any authority with respect to prevention of violations).
17 The parties’ joint stipulation does not show otherwise, as it simply

codifies the Attorney General’s interpretation that “SB 7050 . . . require[s]
a referral from the Secretary of State before the OAG can enforce the
challenged civil provisions.” PX 179 at 2.

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members. See, e.g., PX 179 at 2 (specifying that Statewide Prosecutor’s

interpretation of Citizenship Provision “applies . . . in both the civil and

criminal contexts”).

III. Merits

     The League proved at trial that all four challenged provisions

violate the League’s and its members’ First Amendment rights to free

speech, expressive conduct, and association, and are unconstitutionally

vague. The Receipt, Retention, and Citizenship Provisions are likewise

unconstitutionally overbroad.

     A.    The League’s Voter Registration               Activities    Are
           Protected by the First Amendment

     The First Amendment is our democracy’s lodestar and protector. It

guards most fervently our freedom to engage members of the public

through words and action regarding issues of public concern, Thornhill

v. Alabama, 310 U.S. 88, 95 (1940), and to associate with like-minded

people for political ends. NAACP v. Alabama ex rel. Patterson, 357 U.S.

449, 460 (1958).




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           1.    Strict scrutiny applies because the League’s
                 registration drives constitute core political speech

     Restrictions on core political speech trigger strict scrutiny. See

McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 346 n.10, 347 (1995).

Because the challenged provisions “reduc[e] the total quantum of speech

on a public issue,” Defendants must show “that it is necessary to burden

[plaintiffs’] ability to communicate their message in order to meet its

concerns.” Meyer v. Grant, 486 U.S. 414, 422–23, 426 (1988). “Narrow

tailoring is crucial where First Amendment activity is chilled—even if

indirectly—’[b]ecause First Amendment freedoms need breathing space

to survive.’” Americans for Prosperity Found. v. Bonta, 141 S. Ct. 2373,

2383 (2021) (quoting NAACP v. Button, 371 U.S. 415, 433 (1963)).

     In evaluating whether a provision is narrowly tailored, courts must

consider the other tools a state has to achieve its interests. In Buckley v.

American Constitutional Law Foundation, Inc., for instance, the

Supreme Court struck down several challenged provisions while noting

that “Colorado retains an arsenal of safeguards” to deter fraud in the

initiative process. 525 U.S. 182, 204–205 (1999). The government

likewise must “do more than simply ‘posit the existence of the disease

sought to be cured.’” Wollschlaeger, 848 F.3d at 1316 (quoting Turner


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Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 664 (1994)). The government

must demonstrate that the harms it seeks to remedy are “real, [and] not

merely conjectural,” and that the challenged provisions “will in fact

alleviate these harms in a direct and material way.” Id. at 1313 (citation

omitted).

     By registering voters, the League and its members seeks to achieve

political change in Florida; the First Amendment guards their right

“freely to engage in discussions concerning the need for that change.”

Meyer, 486 U.S. at 421. The League’s mission is to “encourage and assist

as many lawful citizens to be able to participate in voting in the franchise,

and . . . to encourage people to vote.” Trial Tr. vol. 4, 1198:11–18 (Scoon).

The League’s speech in service of that mission—i.e., its voter registration

activities—are “at the core of our electoral process and of the First

Amendment freedoms.” Meyer, 486 U.S. at 425 (collecting cases). “[T]he

First Amendment requires us to be vigilant . . . , to guard against undue

hindrances to” just such “political conversations and the exchange of

ideas.” Buckley, 525 U.S. at 192.

     Through its voter registration drives, the League engages the public

in quintessential political speech. See League of Women Voters v. Hargett,



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400 F. Supp. 3d 706, 720 (M.D. Tenn. 2019) (collecting cases). The League

expresses its message through its volunteers’ conversations with

potential voters. Trial Tr. vol. 4, 1203:16–22 (Scoon). The League

conducts its drive “at places where pretty much the entire community

turns up.” Id. at 1202:6–8 (Scoon). After introducing themselves as “with

the League” and talking about the League, volunteers ask people if they

are registered to vote, offer information about important issues, and

remind people about upcoming local elections. See id. at 1204:8–14

(Scoon). If someone is not yet registered, after “explain[ing] the nature of

the proposal and why [they] support it,” Meyer, 486 U.S. at 421, League

volunteers provide the potential voter an application to register, offer

assistance as needed in completing it, and, once completed, offer to turn

the form in for the voter, Trial Tr. vol. 4, 1205:15–1206:10 (Scoon).

     Political speech occurs before, during, and after collecting and

handling voter registration applications. Throughout the process,

including as follow-up after registration, the League reminds these soon-

to-be voters of upcoming elections, provides them with its popular “voter

guide”—“people snatch those things up like hotcakes”—and invites them

to League debates and forums on issues of the day. Id. at 1204:08–



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1205:14 (Scoon). The League’s speech and conduct during and after voter

registration drives are “interactive communication concerning political

change,” which is precisely the area “in which the importance of First

Amendment protection is at its zenith.” Meyer, 486 U.S. at 422, 425

(internal quotation marks omitted); see also id. at 421 n.4 (describing

conversations like those at issue here as “fall[ing] squarely within the

protections of the First Amendment”). 18

     In this regard, the challenged provisions are indistinguishable from

those in Meyer and Buckley. The Citizenship Provision, like the ban on

paying circulators in Meyer, limits the persons available to speak the

League’s message. Meyer, 486 U.S. at 422. The Receipt Requirement, like

the ID badge at issue in Buckley, forces volunteers “to reveal their

identities at the same time they deliver their political message.” Buckley,

525 U.S. at 199. And like the felony statute struck down in Meyer, the

Retention and 3PVRO Fines Provisions exact severe civil and criminal

penalties that chill political expression. See Meyer, 486 U.S. at 417.




18 See also, e.g., Hargett, 400 F. Supp. 3d at 720; League of Women Voters

of Florida v. Browning, 863 F. Supp. 2d 1155, 1158 (N.D. Fla. 2012)
[hereinafter Browning II]; Cobb, 447 F. Supp. 2d at 1332–33.

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        Like the laws at issue in Meyer and Buckley, the challenged

provisions limit political expression by regulating the conduct around it.

In Meyer, Colorado’s ban on paying petition circulators did not ban speech

directly, but the Court nevertheless struck it down because it “limit[ed]

the number of voices” willing to convey the sponsor’s message. 486 U.S.

at 422–23. Similarly, in Buckley, the Court highlighted evidence that

compelling circulators to wear ID badges “inhibits participation in the

petitioning process” because of circulators’ reluctance to identify

themselves and their fears of “recrimination and retaliation . . . on

volatile issues.” 525 U.S. at 197–98 (internal citations omitted). The

injury—a decline in willing speakers—stemmed from “forc[ing]

circulators to reveal their identities at the same time they deliver their

political message.” Buckley, 525 U.S. at 198–99. It made no difference

that circulators were not directly barred from speaking. Nor should it

here.

             2.   The League’s collection and submission of voter
                  registration forms is inextricably intertwined with
                  core political speech

        The act of registering someone to vote cannot be separated from

core political speech. This is not just because political speech occurs while



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assisting someone to register; it is because the act of voter registration

cannot be performed without expressing a political message. See, e.g.,

Trial Tr. vol. 2, 512:9–23 (Martinez); Trial Tr. vol. 2, 569:21–570:5 (Velez

Burgos); see also Trial Tr. vol. 4, 1198:10–16 (Scoon). Any attempt to

regulate this conduct necessarily infringes on protected speech. See, e.g.,

Schaumburg v. Citizens for a Better Env’t, 444 U.S. 620, 632 (1980)

(charitable   solicitation   is   “characteristically   intertwined    with

informative and perhaps persuasive speech”); Cobb, 447 F. Supp. 2d at

1334 (“[T]he collection and submission of voter registration drives [sic] is

intertwined with speech and association.”).

     Registering to vote is a political act. In Buckley, the Supreme Court

held unconstitutional a requirement that petition circulators be

registered voters, notwithstanding “the ease with which qualified voters

may register.” 525 U.S. at 195–96. The Court noted that the choice to

register, or not, “implicates political thought and expression.” Id. at 195;

see also Trial Tr. vol. 4, 1198:11–16 (Scoon) (distinguishing between

“providing pathways” to registration and encouraging people to vote).

Indeed, the Court identified the very idea that the League here combats

through its drives: that some people “refuse to register because they don’t



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believe that the political process is responsive to their needs.” Buckley,

525 U.S. at 196 (internal citation omitted); see also Am. Ass’n of People

with Disabilities v. Herrera, 690 F. Supp. 2d 1183, 1216 (D.N.M. 2010)

(“Given that voter registration is a communicative avenue, one way to

counter the message of those who oppose the democratic process is to

participate in and persuade others to engage in voter registration.”); Trial

Tr. vol. 4, 1198:14–16 (Scoon) (“we also try to encourage people to vote to

let them know, you know . . . what are the consequences of voting and not

voting”). Because assisting an eligible voter to register is a political act,

the League’s conduct during its registration drives is no less protected

than its speech.19

     Defendants misstate the facts when they suggest that “no speech is

taking place” when League volunteers collect and handle voter

registration forms. Secretary’s Opening Statement, ECF No. 268 at 7

(citing Voting for Am., Inc. v. Steen, 732 F.3d 382 (5th Cir. 2013)). The

League has shown that these direct, one-on-one communications are part



19 See, e.g., Democracy N.C. v. N.C. State Bd. of Elections, 476 F. Supp.

3d 158, 222–24 (M.D.N.C. 2020); Priorities USA v. Nessel, 462 F. Supp.
3d 792, 812 (E.D. Mich. 2020); Herrera, 690 F. Supp. 2d at 1217; Project
Vote v. Blackwell, 455 F. Supp. 2d 694, 700 (N.D. Ohio 2006).

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of the voter registration process and occur less when the State burdens

3PVROs as it has. Trial Tr. vol. 4, 1220:20–1221:6 (Scoon); see also Cobb,

447 F. Supp. 2d at 1333 (“Plaintiffs’ testimony has demonstrated that the

success of voter registration drives is severely undermined when third

party organizations cannot collect voter registration applications.”).

Defendants evince no “due regard for the reality” that, without the ability

to collect and deliver voter registration forms, the League’s flow of

information and advocacy has been seriously decreased. Schaumburg,

444 U.S. at 632; see also Hargett, 400 F. Supp. 3d at 720 (“[W]hile the

civil penalties . . . are directed only at the paperwork produced by a drive,

the threat of penalties is likely to have a chilling effect on the entirety of

the drive, including its communicative aspects.”).

     Finally, whether the League can express a similar message without

collecting voter registration applications is irrelevant. The League has

shown that collecting and delivering voter registration forms—expressive

conduct that brings it under regulation by the challenged provisions—is

the “most effective, fundamental, and perhaps economical avenue of

political discourse” for advocating their political beliefs. Meyer, 486 U.S.

at 424; see also Parts III.A.3, .4, infra. The availability of other avenues



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of expression simply has no bearing on whether the challenged provisions

at issue burden the League’s most effective one. Cf. Thornhill, 310 U.S.

at 95–96.

            3.   Collecting and delivering voter            registration
                 applications is expressive conduct

     The First Amendment protects not only speech, but also expressive

conduct. Texas v. Johnson, 491 U.S. 397, 404 (1989). To determine

whether the First Amendment protects a particular act, courts determine

whether “an intent to convey a particularized message was present” and

given the act’s context, whether “the reasonable person would interpret

it as some sort of message.” Fort Lauderdale Food Not Bombs v. City of

Fort Lauderdale, 901 F.3d 1235, 1240 (11th Cir. 2018) (citation and

internal quotation marks omitted). Only the second step is at issue here.

There is no doubt that the League intends to convey its message of

political participation and civic engagement through its collecting and

submitting of voter registration forms. As such, the only issue here is

whether the League’s intended message is reasonably understood when

it collects and submits voter registration forms.

     Defendants argue that there is no speech involved in handling

registration forms. Secretary’s Opening Statement, ECF No. 268 at 7. But


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because the context of an act determines “the dividing line between

expressive conduct and everyday conduct,” Burns v. Town of Palm Beach,

999 F.3d 1317, 1343 (11th Cir. 2021) (citation omitted), the League’s

collecting and handling of forms cannot be viewed in a vacuum. 20 Conduct

that is unquestionably protected expression in one setting may, in other

settings, not implicate the First Amendment at all. See Fort Lauderdale

Food Not Bombs, 901 F.3d at 1241.

     As the League demonstrated at trial, “a voter registration drive

involves more than just accepting and delivering a form like a neutral

courier.” Hargett, 400 F. Supp.3d at 720. The League “set[s] up tables and

its banner and distribute[s] literature at its events.” Burns, 999 F.3d at

1333; see also Trial Tr. vol. 4, 1244:20–25 (Scoon). The League’s drives

are conducted at parades and large events “historically associated with

the exercise of First Amendment rights.” Burns, 999 F.3d at 1333–34


20 To the extent Defendants argue that the conduct viewed alone is not

“inherently expressive,” see Rumsfeld v. Forum for Acad. & Inst’l Rights,
Inc., 547 U.S. 47, 66 (2006) [hereinafter FAIR], they rely on a misreading
of Texas v. Johnson. Compare FAIR at 66 (“Unlike flag burning, the
conduct regulated . . . is not inherently expressive.”) with Johnson, 491
U.S. at 405 (“We have not automatically concluded, however, that any
action taken with respect to our flag is expressive. Instead, in
characterizing such action for First Amendment purposes, we have
considered the context in which it occurred.”).

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(internal quotation marks omitted); see also Trial Tr. vol. 4, 1202:13–19

(Scoon). A League volunteer’s offer to collect and submit registration

applications, in turn, embodies the League’s belief that our democracy is

worth participating in—certainly “an issue of concern in the community”

today. Burns, 999 F.3d at 1334 (internal quotation marks omitted); see

also Trial Tr. vol. 4, 1215:22–24 (Scoon).

     The League has been engaging in First Amendment protected

speech, registering voters for the better part of a century; and doing so

has long been associated with the advance of civil rights in this country.

See Trial Tr. vol. 6, 1706:22–1707:2 (Stein). Indeed, League members

have been harassed for just this conduct. Trial Tr. vol. 4, 1234:09–

1236:10 (Scoon); Trial Tr. vol. 4, 1352:14–1353:05 (Elliott). On this

record, there can be no doubt that a reasonable person would interpret

the League’s collecting and handling of voter registration forms as

expressing “some sort of message.” Burns, 999 F.3d at 1336 (citation and

internal quotation marks omitted; emphasis in original).21



21 See also Herrera, 690 F. Supp. 2d at 1216 (“Volunteers actively aiding

in voter-registration activities are distinct from a person picking up a
registration form from a box at the post-office or local library, and
changes the manner and setting in which prospective voters register.


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            4.    The League engages in expressive political
                  association with its volunteers and the voters they
                  help to register

       The First Amendment also protects the right to associate with

others to promote ideas collectively. More than fifty years ago, the

Supreme Court declared that “[t]here can no longer be any doubt that

freedom to associate with others for the common advancement of political

beliefs and ideas is a form of orderly group activity protected by the First

and Fourteenth Amendment.” Kusper v. Pontikes, 414 U.S. 51, 56–57

(1973) (internal citations omitted); see also Herrera, 690 F. Supp. 2d at

1202    (collecting   cases).   This   right   of   “expressive   association”

encompasses not only the ability to join with others, but also the right to

define the expressive nature of that association. Boy Scouts of Am. v.

Dale, 530 U.S. 640, 653 (2000).

       The League and its volunteers exercise their right to expressive

association through their voter registration activities. League members

associate with each other at drives to advance their political beliefs and

the overall mission of the League to register as many eligible Floridians



Rather than lacking communicative force, efforts to register people to
vote communicates a message that democratic participation is
important.”)

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to vote as possible. See Trial Tr. vol. 4, 1282:06–15 (Scoon) (“The League

is made up of people who act on their principles . . . wanting to make our

state and our communities better.”) The League’s registration drives thus

broaden support for and engagement with their programs to increase

political participation. Id. at 1252:13–20 (Scoon). League members and

volunteers also associate directly not just with each other, but also with

those they assist, recruiting new members and inviting further

discussion. Id. at 1258:23–1259:06 (Scoon); see also, e.g., Browning II, 863

F. Supp. 2d at 1158. 22

            5.     The challenged provisions constitute content- and
                   viewpoint-based restrictions

      The challenged provisions are also subject to strict scrutiny as

content- and viewpoint-based restrictions on protected expression.

Because the challenged provisions apply only to those engaged in voter

registration drives, they restrict speech “because of the topic discussed or

the idea or message expressed.” Reed v. Town of Gilbert, 576 U.S. 155,




22 Because “‘voting is the political right . . . preservative of all rights,’ . . .

[i]f anything, a person’s decision to sign up to vote is more central to
shared political life than his decision to sign an initiative petition.”
Hargett, 400 F. Supp. 3d at 723 (quoting Yick Wo v. Hopkins, 118 U.S.
356, 370 (1886)).

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163 (2015). Moreover, the challenged provisions thwart only those

seeking to encourage political participation, not to discourage it. The

First Amendment forbids the State from enacting policies that all but

eliminate voter registration efforts, effectively “choos[ing] winners and

losers in the marketplace of ideas.” Speech First, Inc. v. Cartwright, 32

F.4th 1110, 1127 (11th Cir. 2022).

      B.    The Court Should Not Apply Anderson-Burdick
            Balancing to the League’s First Amendment Claims

      The Anderson-Burdick balancing test is inapposite here for two

reasons: the activity reached by the challenged provisions and the nature

of the League’s claims.

      First, the test applies to regulations governing “the mechanics of

the electoral process,” not core political speech about the political process.

McIntyre, 514 U.S. at 345. In Anderson, the Supreme Court considered a

challenge to an early filing deadline for non-party candidates to appear

on the ballot. Anderson v. Celebrezze, 460 U.S. 780, 785 (1983). In

Burdick, the Court considered a prohibition on write-in candidates.

Burdick v. Takushi, 504 U.S. 428, 430 (1992). The cases struck a balance

between the right to express and associate “through the ballot,” Burdick,

504 U.S. at 433, and the regulation necessary to make elections an


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effective means of discerning popular will. No such balancing is

appropriate where—as here—the regulations target protected expression

well before voters head to the polls. See, e.g., Hargett, 400 F. Supp. 3d at

722 (“[L]aws that govern . . . election-related speech and association [] go

beyond merely the intersection between voting rights and election

administration.”) The Anderson-Burdick standard thus does not obviate

the First Amendment’s command “to guard against undue hindrances to

political conservations and the exchange of ideas.” Buckley, 525 U.S. at

192 (quoting Meyer, 486 U.S. at 421).

     Second, Anderson-Burdick is inapplicable because the League

asserts pure First Amendment claims, not a right-to-vote claim. While

the Eleventh Circuit has applied Anderson-Burdick to those asserting

burdens on the right to vote,23 here, the League’s injuries sound in its

own speech, expressive conduct, and political association that takes place

well before any election. See Part III.A, supra. The Buckley Court, writing

after both Anderson and Burdick, applied the test articulated in Meyer,

demonstrating that Anderson-Burdick balancing does not diminish the

protection the First Amendment affords to the political speech,


23 See, e.g., Curling v. Raffensperger, 50 F.4th 1114, 1121 (11th Cir. 2022).



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expression, and association that occurs outside the ballot box. See

Buckley, 525 U.S. at 204 (state’s interest in preventing fraud less strong

at petition-gathering stage than at the time of balloting.); see also

Hargett, 400 F. Supp. 3d at 722.24

       Even if Anderson-Burdick were to apply, the Court “must first

consider the character and magnitude of the asserted injury to the rights

protected by the First and Fourteenth Amendments. Thereafter, the

State must identify its precise interests and the extent to which those

interests justify the burden imposed by the law.” Cobb, 447 F. Supp. 2d

at 1332 (citation omitted). Because the League has shown that the

challenged provisions severely burden the League’s speech and

association rather than the right to vote of its members or the community

members with whom it seeks to speak and associate, see Part III.A, supra,

the State must put forward interests that justify the burden on 3PVROs



24 In Buckley, Justice Thomas distinguished between “election law[s]
directly regulat[ing] core political speech” and an election law that
“burdens voting and associational interests.” 525 U.S. at 207 (Thomas,
J., concurring). He noted that, as to the former, the Court has “always
subjected the challenged restriction to strict scrutiny . . . [e]ven where a
State’s law does not directly regulate core political speech[, and] . . .
without first determining that the State’s laws severely burdens speech.”
Id. (collecting cases).

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like the League, irrespective of any additional burdens on Florida

voters. 25 On this record, where “[t]he plaintiffs have produced evidence of

significant burdens associated with the Act’s provisions, and the

defendants have conspicuously failed to provide much, if any, factual

basis for disputing the plaintiffs’ claims in that regard,” the Anderson-

Burdick framework “is just another road to strict scrutiny.” Hargett, 400

F. Supp. 3d at 725 n.9.

     C.    Counts 1 and 2: Violation of LWVFL’s First Amendment
           Rights to Free Speech, Expressive Conduct, and
           Association

     None of the four challenged provisions can meet the “well-nigh

insurmountable” standard established in Meyer and Buckley. Meyer, 486

U.S. at 425; see also McIntyre, 514 U.S. at 346 n.10, 347 (describing Meyer

standard as “strict scrutiny” and outlining exacting scrutiny analysis).

The State put forth precious little evidence regarding any interests

justifying the provisions, and no evidence establishing that they are



25 This is not to suggest that weighing the burdens to voters would result

in a lower standard of review. See Cobb, 447 F. Supp. 2d at 1324 (“If third
party voter registration organizations permanently cease their voter
registration efforts, Florida citizens will be stripped of an important
means and choice of registering to vote and of associating with one
another.”).

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narrowly tailored.26 And even if Anderson-Burdick applies, the four

provisions must be invalidated because the injuries they create far

outweigh the State’s justifications.

           1.    The Receipt Provision

                 a.    The Receipt Provision cannot survive strict
                       or exacting scrutiny

     Buckley itself establishes that the State may not require all voter

registration volunteers to provide their name in writing to every person

they register. There, Colorado required petition circulators to wear

identification badges. Buckley, 525 U.S. at 197–198. As here, the

requirement “limited the number of people willing to work” because of

the “harassment” and “retaliation” that some had experienced. Id. at 198

(quotation marks omitted). Although the state argued that the badge

helped the public identify circulators and helped the state apprehend

circulators who committed misconduct, the Supreme Court invalidated

the requirement because it compelled identification when the speaker

had an interest in anonymity. Id. at 199; see also McIntyre, 514 U.S. at


26 Further, “the defendants have submitted no evidence” that the law

prior to passage “failed in any respect to protect the state’s legitimate
interests in regulating the conduct of voter-registration organizations.”
Browning II, 863 F. Supp. 2d at 1160.

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342–43. And importantly, the Court explained that the state’s interest

was served by a separate requirement that circulators include their

names when delivering completed petitions to the state. Id. at 198–99.27

     The result must be the same here: voluminous testimony showed

that League members have faced harassment, and many would refuse to

register voters if required to provide their name on a receipt. Trial Tr.

vol. 4, 1243:6–1244:5, 1249:2–6 (Scoon); Trial Tr. vol. 4, 1344:4–13,

1369:2–7 (Elliott). The State’s purported interest is insufficient,

especially because it could be accomplished in other ways. Florida

already requires 3PVRO volunteers to include their initials on the back

of completed registration forms, see PX 174 at 2, Rule 1S-2.042(5)(c), and

it could easily enhance that requirement to meet its interests without

requiring public identification of volunteers.

     Defendants’ paltry evidence at trial only confirms this result. The

testimony seemed designed to show that a receipt with a volunteer’s

name would help voters and investigators identify individuals who



27 The Buckley Court also invalidated a requirement that the names of

paid petition circulators be publicly disclosed, explaining that “[t]he
added benefit of revealing the names” of the speakers in question was
“hardly apparent and has not been demonstrated.” Id. at 203.

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engaged in fraudulent voter registration activity. But although the

Receipt Provision has been in effect for six months, not a single witness

testified that they had seen a completed receipt, see, e.g., Trial Tr. vol. 3,

757:7–12 (Earley), likely because 3PVRO misconduct is in fact quite rare,

Trial Tr. vol. 1, 205:14–23 (Herron). And for the single investigation for

which the State could allege a receipt may have been helpful—when a

person named Cheryl Hall changed many voters’ party affiliation to

Republican without their consent—the perpetrator was identified and

prosecuted before the Receipt Provision was enacted. Trial Tr. vol. 6,

1783:7–12 (Gladson); Trial Tr. vol. 6, 1841:15–20 (Hays).

      Indeed, on close examination, it becomes apparent that the Receipt

Provision usually will not assist the State in identifying individuals who

engaged in fraudulent behavior. First, while State Attorney Amira Fox

testified that having a receipt would have made the investigation of Hard

Knocks “a lot easier,” Trial Tr. vol. 6, 1795:9–11 (Fox), she later conceded

that the charges against Hard Knocks employees “were charges that they

had fraudulently filled out the form and that they had not ever interacted

with the voter,” id. at 1809:1–6 (Fox). Moreover, if a 3PVRO canvasser

fills out a form fraudulently and does not interact with a voter, there is



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no opportunity to even provide a receipt. See Trial Tr. vol. 3, 760:16–

761:15 (Earley). And testimony showed that, in fact, the large majority of

circumstances in which the State has raised concerns about fraud do not

involve any interaction between a canvasser and voter—they involve use

of a deceased or fictitious person’s name. Trial Tr. vol. 6, 1751:16–1755:9

(VanderGiesen). In the other cases identified, it was the registration

applicant themselves who provided false information, meaning that

identification of the canvasser would not have aided the investigation. Id.

     Even in the narrow circumstances where the State could claim that

a receipt would be helpful—in which a canvasser and voter actually

interacted—the State’s interest rests on a faulty foundation: it assumes

that a canvasser intending to commit misconduct would willingly provide

their real name to the voter who they planned to defraud. The State

offered no reason to believe that implausible scenario would occur. See

Trial. Tr. vol. 3, 761:2–12 (Earley) (“If they are going to forge the voter’s

information, they could forge the receipt.”); Trial Tr. vol. 6, 1762:4–8

(VanderGiesen).

     Even if the State could show that requiring volunteers to disclose

their name to voters served its interest in streamlining investigations, it



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could make no showing that the provision is at all tailored to meet that

goal. As in Buckley, 525 U.S. at 198–99, the State could—and does—

require 3PVROs to include its volunteers’ initials on completed voter

registration applications. PX 174 at 2, Rule 1S-2.042(5)(c). That

requirement is already sufficient to identify the individual volunteer

responsible for an application, see Trial Tr. vol. 3, 760:12–15 (Earley); it

could also be modified to ensure that the State has the volunteer’s full

name rather than initials, if that information is demonstrably more

helpful to addressing the voter’s complaint.

     Further, evidence showed that having an individual volunteer’s

name on a receipt would often be unhelpful, because the person who

collects and submits the application usually immediately gives that

application to a 3PVRO supervisor, and thus is likely not responsible for

any problems that occur. Trial Tr. vol. 4, 1206:11–1207:9 (Scoon); see also

id. at 1248:4–19 (Scoon) (explaining why it would be “more helpful for a

voter to have the name or contact information just of the 3PVRO that




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helps them”). A receipt with the name and contact information of the

3PVRO itself would be much better tailored to the State’s goals. 28

                 b.   The Receipt Provision fails the Anderson-
                      Burdick test

     As explained above, the Receipt Provision should not be analyzed

under the Anderson-Burdick test: the League has challenged the

provision because it limits volunteers’ right to free speech and

association, not the mechanics of the voting process. See Hargett, 400 F.

Supp. 3d at 725. But regardless, the Receipt Provision cannot survive any

version of the Anderson-Burdick test.

     Under Anderson-Burdick, because the Receipt Provision imposes a

severe burden on the League’s rights to free speech and association, 29 it

“must be narrowly drawn to serve a compelling state interest.”



28 The Receipt Provision already requires listing the name of the 3PVRO

on the receipt, such that a voter could easily identify the organization
responsible for their application. Fla. Stat. § 97.0575(4).
29 If Anderson-Burdick were the appropriate test to apply, the group

whose burden should be assessed is the League (and its members), not
the voters—they are the plaintiffs and those whose First Amendment
rights are most affected. See Cobb, 447 F. Supp. 2d at 1332–33 (applying
“character and magnitude” test from Anderson to League plaintiffs); see
also VoteAmerica v. Schwab, 671 F. Supp. 3d 1230, 1251 (D. Kan. 2023)
(applying Anderson-Burdick and assessing burden to nonprofit plaintiff
group that sent mail ballot applications).

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Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1318 (11th Cir.

2019). That severe burden was well-established at trial. Ms. Scoon

testified that the Receipt Provision would create a “very significant”

burden on the League and “on the League’s ability to register voters.”

Trial Tr. vol. 4, 1249:2–19 (Scoon); see also id. at 1243:6–1244:5 (Scoon);

see also Trial Tr. vol. 4, 1344:4–16, 1369:2–7, 1369:12–15 (Elliott).

     League members have experienced harassment, and more than half

of those asked said they would not continue to volunteer if required to

provide their name in writing to every voter they assist. Trial Tr. vol. 4,

1243:6–1244:5 (Scoon); Trial Tr. vol. 4, 1367:1–1369:15 (Elliott). Leon

County Supervisor Mark Earley testified that instances of harassment

have made election workers reluctant to continue their work, Trial Tr.

vol. 3, 758:13–20 (Earley); that same concern is reasonable among

volunteers. That concern, along with the retraining required and the

significant logistical burdens and costs of providing receipts, led the

League to switch to online registration where it has registered far fewer

applicants, limiting its opportunities to speak and associate with

potential voters. See Part II.B.1.c, supra.




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     That burden is not outweighed by any state interests. As discussed

above, evidence adduced at trial shows that the Receipt Provision would

not actually help solve the problems the State identifies, and it is poorly

tailored to serve the State’s interest. See Part III.C.1.a, supra.

     Even if the Court were to find that the Receipt Provision’s burdens

are not severe, it fails a more relaxed version of the Anderson-Burdick

test. In that situation, “relevant and legitimate interests of sufficient

weight still must justify that burden,” and the Court must consider “the

extent to which those interests make it necessary to burden” voting

rights. Lee, 915 F.3d at 1318–19, 1322 (citation omitted; emphasis in

original). As in Lee, here the State’s interest “does not warrant the

complained-of burden because Defendants have not demonstrated that”

their interests require volunteers to provide their full names in writing

on a receipt to voters. Id. at 1322. Instead, that interest could be served

as already described: providing a receipt with the 3PVRO’s name and

contact information, combined with a requirement that 3PVRO volunteer

names are recorded or included on completed applications.

     Likewise, “evidence in this case does not demonstrate a significant

problem with voter registration applications stemming from third party



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voter registration organizations.” Cobb, 447 F. Supp. 2d at 1337. Even if

the Receipt Provision was well-suited to address the problems the State

relies on, the magnitude of those problems is indisputably small, and

cannot justify the burden the law creates.30

                              *     *     *

     For these reasons, the Receipt Provision should be invalidated in

full. Evidence at trial also showed why the law should be struck down as

applied to the League in particular: it is an all-volunteer organization

whose members are mostly older women who do not typically provide

their names to voters they help register. Trial Tr. vol. 4, 1234:2–8,

1256:8–9 (Scoon). That is in part because League members have been

threatened and harassed at events, including by “a man with a camera

[who] approached [League] volunteers and was complaining about the

fact that [they] were helping women get the right to vote.” Trial Tr. vol.

4, 1351:3–1353:8 (Elliott); see also Trial Tr. vol. 4, 1235:5–1236:10

(Scoon). Evidence shows that a large percentage of the League’s members


30 In Lee, the Court emphasized that the state law affected only about

4,000 ballots of nine million cast. Lee, 915 F.3d at 1322. Here, the State
has shown much less than that, even assuming that each voter affected
by misconduct from Cheryl Hall and Hard Knocks should be counted in
that analysis.

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would refuse to continue with paper registration if required to provide

their name on a receipt. Trial Tr. vol. 4, 1243:6–1244:5 (Scoon); Trial Tr.

vol. 4, 1367:1–1369:15 (Elliott); see also, e.g., Citizens United v. Fed.

Election Comm’n, 558 U.S. 310, 367 (2010) (noting that, if a disclosure

provision is facially upheld, “as-applied challenges would be available if

a group could show a reasonable probability that disclosure of its

contributors’ names will subject them to threats, harassment, or

reprisals”) (quotation marks omitted).

           2.    The Retention Provision

                 a.    The Retention Provision fails strict or
                       exacting scrutiny

     The State cannot show that the Retention Provision, properly

interpreted, is narrowly tailored to serve a compelling state interest.

     The only evidence that the State put forth to support the Retention

Provision was from Lake County Supervisor of Elections Alan Hays, who

testified that prohibiting 3PVROs from “retaining someone’s driver’s

license information, Florida ID number, social security number, last four

and a copy of the signature” was important to prevent identity theft. Trial




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Tr. vol. 6, 1824:10–23 (Hays). 31 Yet no evidence supports the ban on

retaining other “personal information,” such as a voter’s phone number,

home address, or email address. Indeed, the State has never sought to

justify banning retention of that information, instead relying on its

argument that the ban does not cover voters’ contact information. But

this Court already once concluded that the term “personal information”

is vague and may include information beyond that which is “non-public.”

Fla. NAACP, 680 F. Supp. 3d. at 1318–19; see also Part III.D.1.a, infra.

       Without any evidence of a state interest in preventing 3PVROs

from retaining a person’s name and contact information, and therefore

no way to argue that the ban is narrowly tailored, the Retention Provision

must be invalidated.




31 There is no evidence in the record that prior, to enactment of the
Retention Provision, 3PVROs retaining voter contact information led to
any instances of election law violations or identity theft. See, e.g., Trial
Tr. vol. 1, 225:24–226:4, 227:9–11 (Herron) (testifying that he found no
evidence in OECS report that 3PVROs’ retention of voter information for
Get Out the Vote purposes led to election law violations or identity theft);
Trial Tr. vol. 6, 1831:19–1832:2 (Hays) (indicating that his office has not
referred anyone to be charged for identity theft based on 3PVROs’
retention of information from registration applications).

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                  b.    The Retention Provision fails the Anderson-
                        Burdick test

      The Retention Provision would fare no better if any version of the

Anderson-Burdick test were applied. The law creates a severe burden on

the League’s and other 3PVROs’ speech and association 32: it is a vague

statute that may lead to felony prosecution. The mere threat of such

prosecution will lead fewer volunteers to associate with the League and

will mean the League registers fewer voters; if a volunteer were actually

prosecuted, that effect would be exponentially magnified. Trial Tr. vol. 4,

1255:3–1256:24 (Scoon). Even aside from prosecution, the law

significantly hampers 3PVRO activity by limiting recruitment, quality

control protocols, get-out-the-vote efforts, and distribution of political

material to voters, as well as requiring retraining and other efforts. See

Part II.C.1; see also, e.g., Trial Tr. vol. 1, 103:7–13; 104:1–15 (Nordlund).




32 See, e.g., Trial Tr. vol. 3, 703:13–14 (Vilar) (“We decided to end our voter

registration because of this language”); Trial Tr. vol. 3, 972:13–973:1
(Mayer) (“And I think if the consequences of making a mistake for them
can be that they get a felony, many [volunteers] will simply refuse to
participate in any voter registration efforts, which would completely
annihilate our ability to register voters in the state”); Trial Tr. vol. 4,
1327:13–23 (Babis Keller) (“[T]o receive a felony would be hugely
impactful for our staff, so this has really created a chilling effect in staff
members that want to be involved with voter registration”).

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     Even if the law’s burdens were minimal, the Retention Provision

could not survive: Florida has no cognizable interest in banning the

collection of voters’ contact information, and has not attempted to show

why the burden created is necessary. Lee, 915 F.3d at 1318–19, 1322.

           3.    The 3PVRO Fines Provision

                 a.    The 3PVRO Fines Provision must be
                       invalidated under strict or exacting scrutiny

     The 3PVRO Fines Provision, like the Receipt and Retention

Provisions, must be analyzed using strict or exacting scrutiny. As the

court held when it reviewed very similar fines in Cobb, “[t]he situation

before the Court is analogous to that in Meyer v. Grant,” because the

“inevitable effect” of the state law was to “reduce the total quantum of

speech on a public issue.” 447 F. Supp. 2d at 1332 (quotation marks

omitted). And Defendants cannot show that the 3PVRO Fines Provision

is narrowly tailored to serve a compelling state interest.

     Again, Defendants offered little justification for the 3PVRO Fines

Provision at trial. At most, evidence showed that some 3PVROs have

submitted some applications beyond the statutory deadline, e.g., Trial Tr.

vol. 6, 1917:20–25 (Matthews), but “the evidence in this case does not

demonstrate a significant problem with voter registration applications


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stemming from third party voter registration organizations,” Cobb, 447

F. Supp. 2d at 1337; see also Trial Tr. vol. 1, 238:11–20 (Herron)

(explaining relatively low number of fine letters).

      No evidence established that late applications have caused any

problems for the State—the percentage of late applications from 3PVROs

is quite small, and very few late applications end up preventing a voter

from being registered. 33 And of course, shortening that statutory deadline

does nothing to remedy the problem of late applications. More broadly,

the State utterly failed to show that increased fines would lead to better

compliance—increased fines are more likely simply to prevent 3PVROs

from operating, which will decrease voter registrations, not increase

them. Trial Tr. vol. 3 at 741:23–742:4 (Earley); see also Cobb, 447 F. Supp.

2d at 1337 (“Defendants have not demonstrated that the combination of

strict liability, heavy fines, and joint and several liability is necessary to

ensure that third party organizations do not strip Florida citizens of their

right to vote.”).


33 Applications submitted beyond the ten- or 14-day deadline under Fla.

Stat. § 97.0575(5)(a)(1) do not keep a voter from being registered unless
that application is also submitted after book closing. Trial Tr. vol. 3,
739:18–740:1 (Earley). And applications submitted after book closing are
penalized by a separate provision. Fla. Stat. § 97.0575(5)(a)(2).

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      Similarly, Defendants have not attempted to establish that the ten-

day deadline or the fines in general—let alone each of the six individual

increased fines—are tailored to serve the State’s interests. If the State

needs more time to process applications (which it has not established),

Defendants have not shown that the ten-day deadline will help them do

that. See, e.g., Trial Tr. vol. 3, 738:9–14 (Earley) (testifying that the

previous 14-day deadline was “workable” and did not “jam up” his office’s

ability to process applications). And even if increased fines were shown

to help compliance, the record contains no evidence establishing why

such stiff penalties, including a maximum $250,000 fine, is necessary.

See Cobb, 447 F. Supp. 2d at 1338 (“Defendants have not provided any

evidence much less an explanation for the necessity of the amount of the

fines . . . on volunteers, their organizations, and their registered agents.”).

                  b.    The 3PVRO Fines Provision                  fails   the
                        Anderson-Burdick test

      Under Anderson-Burdick, the 3PVRO Fines Provision must be

narrowly tailored to serve a compelling state interest, because the

Provision creates a “devastating” burden on the League’s free speech and

associational rights. Trial Tr. vol. 4, 1271:2–24 (Scoon). That burden was

well-established at trial: a $250,000 fine would “pretty much shut [the


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League’s] business,” while a $20,000 fine would very significantly impact

its operations. Id. at 1267:5–20 (Scoon). Even a $2,500 fine “could be half

of a local league’s annual budget,” id. at 1267:21–1268:5 (Scoon); see also

Cobb, 447 F. Supp. 2d at 1325 (“[T]he resulting $5,000 fine would

eliminate the local Tallahassee League’s entire yearly income.”). The

3PVRO Fines Provisions’ steep potential penalties will mean fewer

volunteers associating with the League, which will lead to fewer

interactions with voters and fewer registrations. Trial Tr. vol. 4, 1266:22–

1267:4 (Scoon). Further, the 3PVRO Fines Provision will require the

League to retrain its volunteers, increase oversight, make more trips to

deliver applications in-person, and even reject some applications—all

creating a significant obstacle to its operations. See Part II.D.1, supra.

     As explained just above, Defendants cannot show that these

burdens are outweighed by any compelling state interest. See Part

III.C.3.a, supra. But even under a more permissive Anderson-Burdick

test, the 3PVRO Fines Provision would still fail. No trial evidence

establishes a legitimate state interest in the fines or the new ten-day

deadline; even if such an interest were shown, Defendants have not

established that “those interests make it necessary to burden” the



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League’s rights. Lee, 915 F.3d at 1322 (emphasis in original). Indeed,

Defendants have not attempted to show that “the Law’s punitive

provisions are necessary to advance” any state interest. Cobb, 447 F.

Supp. 2d at 1337.

           4.    The Citizenship Provision

                 a.    The    Citizenship   Provision     must    be
                       invalidated under strict or exacting scrutiny

     Defendants cannot justify the Citizenship Provision under strict or

exacting scrutiny because they put forth no evidence that the Provision

serves any state interest. No witness testimony or even any exhibit

established that non-U.S. citizens have committed any misconduct

relating to voter registration, let alone at higher rates than U.S. citizens.

See Trial Tr. vol. 3, 844:12–22 (Cox); Trial Tr. vol. 3, 744:24–745:5

(Earley); Trial Tr. vol. 6, 1833:12–1834:22 (Hays); Trial Tr. vol. 6, 1741:7–

10, 1748:19–1749:10 (VanderGiesen); see also Trial Tr. vol. 1, 220:13–

221:6, 221:15–23, 222:13–20 (Herron) (noting absence of incidents

involving noncitizens in OECS report and fine letters).34 While


34 One State witness testified about an investigation into a noncitizen

who “thought that they could vote and did vote,” but there was no
evidence that any 3PVRO was involved, and that person “genuinely was
confused about their status.” Trial Tr. vol. 6, 1787:3–8 (Gladson).

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Defendants have previously speculated that non-U.S. citizens may be

more likely to spontaneously leave Florida in possession of completed

3PVRO applications, see ECF No. 101 at 34, they made no effort to prove

that claim at trial.35 Instead, testimony established that non-U.S.

citizens are just as reliable and honest as others at serving the function

of a 3PVRO canvasser. See Trial Tr. vol. 4, 1274:10–14 (Scoon); see also

Trial Tr. vol. 5, 1548:12–1550:2 (Lichtman) (discussing the “real

incentive” noncitizens have “to follow the rules, to not get into trouble, to

not break the law.”) 36

     Having provided no state interest justifying the Citizenship

Provision, Defendants cannot show that the law is narrowly tailored. And

even if Defendants conjure some state interest to justify the law after the

fact, they will be unable to show narrow tailoring: the law applies to all


35 See also, e.g., Trial Tr. vol. 1, 161:10–17 (Orjuela) (testifying that he

has not personally, nor has he ever observed any fellow canvassers leave
the state or country with voter registration applications); Trial Tr. vol. 1,
87:24–88:2 (Nordlund) (testifying that he is not aware of a time a
noncitizen canvasser left the country with voter registration
applications); Trial Tr. vol. 1, 186:13–16 (Sanchez) (testifying that he has
never left Florida or the country still in possession of applications).
36 Indeed, elsewhere Defendants have actually admitted that the

Citizenship Provision could not withstand strict scrutiny. See Appellants’
Initial Brief, Fla. NAACP v. Byrd, 23-12308, ECF No. 29 at 32 (11th Cir.
Aug. 21, 2023).

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noncitizens, regardless of their legal status, criminal background, or ties

to any other country. Such a broadly discriminatory ban simply cannot

stand. See Fla. NAACP, 680 F. Supp. 3d at 1311–1313 (noting that the

Citizenship Provision applies to all noncitizens and that Defendants do

not attempt to demonstrate how it satisfies strict scrutiny). 37

                 b.    The Citizenship Provision fails any version
                       of the Anderson-Burdick test

     The Citizenship Provision fails the Anderson-Burdick test because

it severely burdens the League, as well as other 3PVROs and their

canvassers, and is not narrowly drawn to serve a compelling state

interest. The Provision burdens the League’s rights to free speech and

association because it would require the League to ask volunteers about

their citizenship status, which violates League values and would cause

some members to stop volunteering altogether. See Trial Tr. vol. 4,

1272:25–1274:6, 1274:20–1275:4, 1281:20–1282:15 (Scoon); Trial Tr. vol.

4, 1343:13–17, 1359:12–20, 1368:4–9, 1369:8–15 (Elliott). Even if the

League asks that question, the law imposes a debilitating $50,000 fine if




37 For the reasons already explained by this Court, the political function

exception applicable to Equal Protection claims does not apply here. See
Fla. NAACP, 680 F. Supp. 3d at 1312.

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any noncitizen collects or handles an application for the League,

regardless of whether the League has diligently tried to follow the law.

And trying to follow the law would require spending time and money to

print citizenship declarations and require that every voter registration

volunteer sign one. Trial Tr. vol. 4, 1278:17–1280:4 (Scoon). All of this

together would mean harming the League’s reputation, risking financial

calamity, and registering fewer voters. Id. at 1281:20–1282:5 (Scoon).

     Testimony from other plaintiffs reinforced the severe burden the

Citizenship Provision would create. For example, Humberto Orjuela

Prieto has not only lost the opportunity to help inform voters about their

right to participate in democracy, but also his opportunity to work a well-

paying job. See, e.g., Trial Tr. vol. 1, 156:5–9, 164:6–20 (Orjuela).

Likewise, Unidos US would terminate all noncitizen employees working

on voter registration because “pretty much everybody in our operation

touches a form.” Trial Tr. vol. 1, 82:9–14, 82:21–83:2 (Nordlund).

     Because the State did not present evidence of any interest that the

Citizenship Provision serves, it cannot show that the burden is

outweighed under any version of the Anderson-Burdick test.




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     In sum, the League proved at trial that all four challenged

provisions violate the League’s and its members’ First Amendment rights

to free speech, expressive conduct, and association and, accordingly, must

be permanently enjoined.

     D.      Counts 3 and 4: Vagueness and Overbreadth

     The League likewise proved at trial that all four challenged

provisions are unconstitutionally vague, and that the Retention, Receipt,

and Citizenship Provisions are also impermissibly overbroad.

     It is “a basic principle of due process that an enactment is void for

vagueness if its prohibitions are not clearly defined.” Burns, 999 F.3d at

1349 (internal quotation marks omitted). A statute is vague if it either

“fails to provide people of ordinary intelligence a reasonable opportunity

to understand what conduct it prohibits” or “authorizes or even

encourages arbitrary and discriminatory enforcement.” League of Women

Voters of Fla. Inc. v. Fla. Sec’y of State, 66 F.4th 905, 946 (11th Cir. 2023)

(internal quotation marks and citation omitted). All four provisions suffer

both sins.

      The First Amendment context further amplifies these concerns

because—as here—“an unconstitutionally vague law can chill expressive



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conduct by causing citizens to steer far wider of the unlawful zone to

avoid the law’s unclear boundaries.” Dream Defenders, 57 F.4th at 890

(internal quotation marks and citation omitted); see also, e.g., Trial Tr.

vol. 4, 1288:21–1289:5 (Scoon) (on the League’s “very, very painful”

decision to suspend paper voter registration: “when we weigh the cost-

benefit analysis of trying to use the paper voter registration application

with these kinds of gray areas where you’re not sure and there’s a $50,00

fine and, in some instances, there’s a third-degree felony, it’s

overwhelming”); id. at 1224:15–1225:23 (Scoon) (“all it would take would

be one of our members to be challenged . . . [a]nd that would really

unravel our power[,] so we felt that we had no choice”); Trial Tr. vol. 3,

700:1–3 (Vilar). Consequently, though “perfect clarity and precise

guidance” are not required, “government may regulate in the area of First

Amendment freedoms only with narrow specificity.” Wollschlaeger, 848

F.3d at 1320 (internal quotation marks and citation omitted).

     Moreover, “[a] regulation that covers substantially more speech

than the First Amendment allows is overbroad and thus invalid.” Speech

First, 32 F.4th at 1125. “[T]he overbreadth doctrine loosens the rules

typically governing facial attacks on the constitutionality of a statute,”



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because “the threat of enforcement of an overbroad law may deter or chill

constitutionally protected speech.” League of Women Voters of Fla. v. Lee,

595 F. Supp. 3d 1042, 1137 (N.D. Fla. 2022), aff’d in part, vacated in part,

rev’d in part sub nom. Fla. Sec’y of State, 66 F.4th 905. Accordingly, a

court must ask whether the challenged law prohibits a substantial

amount of activity protected by the First Amendment relative to the

amount of unprotected activity it prohibits. See id.; see also Virginia v.

Hicks, 539 U.S. 113, 118–19 (2003).

     The first step of the inquiry with respect to both vagueness and

overbreadth is to look at the statute itself. When interpreting a state

statute, the Court must “consider any limiting construction that a state

court or enforcement agency has proffered.” Vill. of Hoffman Estates v.

Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495 n.5 (1982). But the

Court is prohibited from “adopt[ing] a narrowing construction of a state

statute unless such a construction is reasonable and readily apparent.”

Boos v. Barry, 485 U.S. 312, 330 (1988). A state statute does not pass

constitutional muster if it would require the Court “to rewrite the statute

to conform it to constitutional requirements.” Lee, 595 F. Supp. 3d at




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1131. The Court “cannot twist itself into a pretzel to save an otherwise

invalid statute.” Id. at 1137 (citation omitted).

           1.    The challenged provisions are unconstitutionally
                 vague

     In analyzing whether a provision is unconstitutionally vague, the

Court must determine not how the statute actually applies, but rather

how a person of ordinary intelligence would read it. Id. at 1133. “Thus,

the canons of construction, while still relevant, take on less significance.”

Id. The Court must likewise determine whether the statute provides “any

standard by which [the law’s enforcers] can judge whether an individual”

has engaged in prohibited conduct. City of Chicago v. Morales, 527 U.S.

41, 66 (1999).

     LWVFL has proven that the challenged provisions provide no such

standard. The League has likewise shown that the First Amendment

applies to its voter registration activities, see Part III.A, supra, such that

its vagueness challenge is entitled to “more lenient review.” League of

Women Voters of Fla., Inc. v. Lee, 576 F. Supp. 3d 1004, 1015 (N.D. Fla.

2021) (citing Vill. of Hoffman Estates, 455 U.S. at 494).




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                 a.    The Retention Provision

     The Retention Provision is impermissibly vague because it fails to

adequately define what “personal information” may not be retained, by

whom, and under what circumstances.

     The Retention Provision makes it a felony to retain any “personal

information” about a voter—specifying only a nonexhaustive list of

examples—“for any reason other than to provide such application or

information to the [3PVRO] in compliance with this section.” Fla. Stat. §

97.0575(7); see also Trial Tr. vol. 3, 839:11–14 (Cox) (agreeing that

provision provides nonexclusive list of personal information).

     But the Retention Provision does not define “personal information”

beyond the limited examples enumerated. Trial Tr. vol. 3, 751:17–23

(Earley) (agreeing that “such as” language denotes a nonexclusive list

and “makes the provision a little bit vague”); Trial Tr. vol. 3, 843:15–

844:11 (Cox) (agreeing that specificity of criminal statutes is “important,”

but that Retention Provision does not define “personal information”

beyond nonexclusive list of examples). It is thus unclear what else the

term encompasses, Trial Tr. vol. 5, 1472:18–24, 1574:21–1575:5

(Lichtman), including for example, whether an applicant’s phone



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number, email address, or home address is “personal information,” Trial

Tr. vol. 4, 1251:1–15 (Scoon); Trial Tr. vol. 3, 752:5–14 (Earley); Trial Tr.

vol. 1, 101:4–22 (Nordlund); Trial Tr. vol. 3, 701:6–702:19 (Vilar); Trial

Tr. vol. 3, 971:10–22 (Mayer); Trial Tr. vol. 4, 1326:9–19 (Babis Keller).

     The Retention Provision likewise does not how a 3PVRO may retain

applicants’ personal information “in compliance with this section.” Trial

Tr. vol. 3, 750:21–751:1 (Earley) (“the wording there is a little

convoluted”); Trial Tr. vol. 1, 101:23–102:15 (Nordlund); Trial Tr. vol. 3,

702:20–703:7 (Vilar); Trial Tr. vol. 3, 971:23–972:4 (Mayer); Trial Tr. vol.

4, 1326:20–24 (Babis Keller). Accordingly, it is unclear whether 3PVROs

may retain personal information about applicants for quality control

measures or as documentation in the event the organization is accused of

misfeasance. Trial Tr. vol. 1, 102:16–22 (Nordlund); Trial Tr. vol. 3,

972:9–12 (Mayer).

     The Retention Provision also does not specify whether a 3PVRO

may retain any personal information with an applicant’s express

permission, including basic contact information important for 3PVROs to

follow up and remind applicants to vote. Trial Tr. vol. 4, 1326:25–1327:9

(Babis Keller) (“There’s nothing saying . . . with the voter’s consent”).



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       Finally, the Retention Provision does not identify clearly to whom

it applies. Based on the law’s language, it could apply only to the

individual employee or volunteer collecting a voter registration

application, or also to everyone in the chain of command and chain of

custody within a 3PVRO. Trial Tr. vol. 4, 1258:4–14 (Scoon); Trial Tr. vol.

1, 102:23–103:1 (Nordlund); Trial Tr. vol. 3, 972:5–8 (Mayer); see also Fla.

NAACP, 680 F. Supp. 3d. at 1316.

       The Secretary of State’s rulemaking does little to remedy the

Retention Provision’s vague terms. Rule 1S-2.042 does not address

whether 3PVROs may retain applicants’ information with the applicant’s

consent. See generally PX 174. Nor does it clarify adequately the

circumstances under which 3PVROs may retain applicants’ personal

information “in compliance” with the section.38 Id. Finally, though Rule


38  Rule 1S-2.042(5)(f) provides that “a person collecting a voter
registration application on behalf of a 3PVRO . . . shall be deemed to be
‘in compliance with this section’” if the person (1) turns the completed
application in to the 3PVRO and (2) does not retain the application or
any information therein. PX 174 at 2. But this interpretation of “in
compliance with this section,” is not “reasonable and readily apparent”
on the face of the Retention Provision, which prohibits “cop[ying] a voter’s
application or retain[ing] a voter’s personal information . . . for any
reason other than to provide such application or information to the
[3PVRO] in compliance with this section,” Fla. Stat. § 97.0575(7); see also
Boos, 485 U.S. at 330.

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1S-2.042(3)(h) defines “voter’s personal information” to mean “a voter’s

private information that is not generally available to the public,” id. at 1,

Rule 1S-2.042(3)(h), it provides no instruction on what qualifies as

private information not generally available to the public, save the same

nonexhaustive list of examples found in the Retention Provision itself,

see Trial Tr. vol. 3, 839:23–840:10 (Cox). Thus, the rule’s definition of

“personal information” does nothing to clarify its meaning.

     In sum, the Retention Provision’s vague terms leave the League and

other 3PVROs without a reasonable understanding of the State’s

requirements and could allow the State to prosecute members for

retaining an applicant’s telephone number or email address, even with

the applicant’s consent.

                 b.    The Receipt Provision

     The Receipt Provision is impermissibly vague, both on its face and

especially when considered together with the Retention Provision.

     The Receipt Provision requires the League to provide a detailed

written receipt to every applicant. The receipt must include the name of

the 3PVRO volunteer who collected the application, as well as the

applicant’s name, political party affiliation, and county of residence. Fla.



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Stat. § 97.0575(4); see also Trial Tr. vol. 3, 757:13–16 (Earley)

(acknowledging that receipt includes certain personal information about

the applicant).

     Though the obvious way to track compliance with this provision

would be to keep a copy of each receipt, this could lead to felony

prosecution for violating the Retention Provision’s ban on retaining

applicants’ “personal information.” As Ms. Scoon testified, tracking

compliance with the Receipt Provision is a “very big concern” for the

League: “If it were authorized, we would try to make a copy [of the

receipt], but we don’t know whether that’s authorized. . . . We feel that is

prohibited . . . And [the Retention Provision] states that it’s a felony.”

Trial Tr. vol. 4, 1229:15–1230:16 (Scoon). The law’s vagueness about

which personal information may be retained means that both the Receipt

and Retention Provisions must be invalidated on vagueness grounds.

     In addition, voters often refuse to take a piece of paper offered to

them, see Trial Tr. vol. 4, 1356:9–12 (Elliott), but the Receipt Provision

provides no instruction to 3PVROs about what to do if a voter declines to

take the receipt now mandated by law, see id. at 1356:16–1357:1 (Elliott)




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(“We would sincerely try to give it to them, because, otherwise, what are

we supposed to do with it?”).

     Finally, and fatally, the Receipt Provision is vague because, unlike

all the other challenged provisions, it is not even clear what the penalty

is for a 3PVRO failing to provide a receipt to voters. Compare Fla. Stat.

§ 97.0575(4) with id. § 97.0575(1)(f), (5), (7). The provision specifies no

fine or other civil or criminal sanction attached to violations. Accordingly,

the Receipt Provision denies the League and other 3PVROs a clear

understanding of the ramifications of potential receipt-related violations

and encourages arbitrary and discriminatory enforcement of the

Provision. Fla. Sec’y of State, 66 F.4th at 946.

     Here too, the State’s rulemaking does not solve the problem. It

includes no guidance on what the penalty is for a receipt-related violation

by a 3PVRO, or what a 3PVRO should do if a voter refuses to accept the

receipt. See Trial Tr. vol. 4, 1357:2–5 (Elliott); see also generally PX 174.

Moreover, although Rule 1S-2.042(3)(h) defines “[v]oter’s personal

information” to exclude information contained on the State’s uniform




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receipt form, PX 174 at 139—the State’s construction excluding only the

applicant’s name, party affiliation, and county of residence from the

definition of “personal information” is in no way “reasonable and readily

apparent” on the face of either the Retention or Receipt Provisions and,

thus, should not be accepted by the Court, see Boos, 485 U.S. at 330.40

     In sum, the League has proven that the Receipt Provision is vague

in several key ways and should therefore be permanently enjoined.

                 c.    The 3PVRO Fines Provision

     The 3PVRO Fines Provision is vague because it does not clearly

identify the total penalties that may be imposed on 3PVROs or the

conduct that is prohibited.




39 Of note, the uniform receipt itself appears to contravene the Receipt

Provision’s statutory requirements: whereas the provision requires
including “the name of the third-party voter registration organization,”
Fla. Stat. § 97.0575(4), the uniform receipt requires only the “3PVRO ID
#,” PX 778.
40 The Receipt Provision further requires providing the name of the

3PVRO “registration agent,” Fla. Stat. § 97.0575(4), but fails to define
that term, leaving 3PVROs like the League unsure who among its
volunteers qualifies as a registration agent, see Trial Tr. vol. 4, 1345:20–
1346:1 (Elliott). While Rule 1S-2.042(3)(g) defines “registration agent” as
any individual “who collects voter registration applications . . . on behalf
of the 3PVRO,” PX 174 at 1, this definition depends on a clear definition
of “collecting,” which, as explained infra at n.42, is itself vague.

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        The 3PVRO Fines Provision imposes fines per application per each

day late for applications submitted more than ten days after completion

or after book closing, and fines for each application submitted to the

wrong county. 41 Fla. Stat. § 97.0575(5)(a)(1)–(3). The Provision imposes

additional penalties for each type of violation “if the third-party voter

registration organization or any person, entity, or agency acting on its

behalf acted willfully.” Id.

        But the 3PVRO Fines Provision does not define “willful” conduct.

Trial Tr. vol. 4, 1269:3–8 (Scoon). It is thus unclear, for example, whether

the League could be found to have acted willfully in turning an

application in late when it had to wait to meet a voter to correct an error

on their application, or to the wrong county when the applicant

themselves wrote down the wrong county. Id. at 1269:9–21 (Scoon); Trial

Tr. vol. 4, 1361:22–1362:17 (Elliott); see also Trial Tr. vol. 3, 871:18–

872:10, 873:25–875:7 (Eskamani) (describing general lack of clarity over

what to do when 3PVRO discovers but cannot remedy a mistake on a



41 The 3PVRO Fines Provision does not indicate whether fines per
application submitted to the wrong county will be assessed daily and, if
so, the maximum fine per application. Compare Fla. Stat.
§ 97.0575(5)(a)(3) with id. § 97.0575(5)(a)(1), (2).

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completed voter registration application); Trial Tr. vol. 4, 1363:4–1364:7,

1364:22–1365:5 (Elliott) (same).

     The 3PVRO Fines Provision likewise does not clearly indicate

whether fines for willfulness are in addition to or in place of the other

prescribed penalties per application, or whether fines for willfulness are

assessed per day. Trial Tr. vol. 4, 1268:6–1269:2 (Scoon). Finally, the

3PVRO Fines Provision does not specify how much a 3PVRO like the

League could be fined for one application containing multiple errors—if,

for example, an application was submitted after the ten-day deadline and

to the wrong county or after the ten-day deadline and after book closing.

      No state guidance even attempts to clarify any of these ambiguities.

Accordingly, there is no real dispute: the 3PVRO Fines Provision fails to

provide reasonable notice of what conduct it prohibits and allows for

disparate enforcement with respect to both “willful” violations and the

treatment of applications with multiple errors.

                 d.    The Citizenship Provision

     Finally, ample evidence was introduced at trial that the Citizenship

Provision is vague because it does not define what it means to “collect[]

or handl[e] voter registration applications.” Fla. Stat. § 97.0575(1)(f); see,



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e.g., Trial Tr. vol. 4, 1288:5–10, 1295:2–5 (Scoon); Trial Tr. vol. 1, 90:23–

25 (Nordlund); Trial Tr. vol. 2, 544:2–4 (Wassmer).

        The law does not specify whether “collecting or handling” means

simply managing an application with the hands or, more broadly, to have

responsibility for supervising or directing. Consequently, it is unclear

whether an individual is “collecting or handling” an application when

they assist with quality control for voter registration applications,

oversee other volunteers directly assisting voters to register, help

transport collected voter registration applications, receive and distribute

blank voter registration applications, or even just move a stack of

completed registration applications from one desk to another. Trial Tr.

vol. 4, 1288:11–1289:5 (Scoon); Trial Tr. vol. 1, 91:1–92:14 (Nordlund);

Trial Tr. vol. 2, 397:25–398:11, 398:24–399:14, 409:10–410:9 (Herrera-

Lucha); Trial Tr. vol. 2, 537:16–538:17, 544:21–545:20 (Wassmer); Trial

Tr. vol. 3, 699:12–700:21 (Vilar).42 As the Citizenship Provision makes no



42 Notably, the challenged provisions do not distinguish between (1)
people “collecting or handling” applications, who are subject to the
Citizenship Provision; (2) “registration agent[s],” who are subject to the
Receipt Provision, Fla. Stat. § 97.0575(4); and (3) people simply
“collecting” applications, who are subject to the Retention Provision, Fla.
Stat. § 97.0575(7). Rule 1S-2.042 does nothing to clarify, as it circularly


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allowance for accidental or inadvertent incidents involving noncitizens

“collecting or handling” registration applications, 3PVROs are concerned

they may even be fined if, for example, a citizen volunteer drops

completed registration applications and a noncitizen helps to pick them

up. Trial. Tr. vol. 2, 589:11–23 (Velez Burgos).

     The State’s attempt to define “collecting or handling” through

rulemaking does not remedy the Citizenship Provision’s vagueness, as

the rule does not actually clarify the Provision’s vague terms. Rule 1S-

2.042(3)(c) defines “collecting or handling” to mean “physically exercising

custody over voter registration applications containing a voter’s personal

information.” PX 174 at 1, Rule 1S-2.042(3)(c). But this definition leads

3PVROs down “the same rabbit hole” in trying to understand what

constitutes “physically exercising custody.” Trial Tr. vol. 2, 605:6–24

(Velez Burgos). The rule, for example, does not clarify who is “physically

exercising custody” when a noncitizen drives a citizen volunteer who put

completed applications in the trunk, when a noncitizen helps to pick up

completed applications dropped by a citizen volunteer, when volunteers


defines “registration agent” as any individual who “collects” applications,
without defining “collecting” separate and apart from “collecting or
handling.” See PX 174 at 1, Rule 1S-2.042(3)(c), (g).

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in a group setting put completed applications into envelopes to send to

the State, or when completed registration forms are left on a desk

assigned to a noncitizen or in an office with no one present. Trial Tr. vol.

2, 605:25–607:7 (Velez Burgos); Trial Tr. vol. 3, 746:25–749:2, 749:25–

750:14 (Earley). Consequently, the rule does not truly clarify the meaning

of “collecting or handling.” 43

      LWVFL has thus shown that the Citizenship Provision fails to

identify what volunteer activity by whom is prohibited, leaving 3PVROs

with insufficient guidance and allowing for arbitrary enforcement.

            2.    The Retention, Receipt, and Citizenship Provisions
                  are unconstitutionally overbroad

      The first step in overbreadth analysis is to determine what the

statute prohibits. United States v. Williams, 553 U.S. 285, 293 (2008).

Where, as here, the statute is not subject to a limiting construction, 44 the



43 Rule 1S-2.042(3)(c) actually excludes from the definition of “collecting

or handling,” inter alia, “assisting a voter who requests assistance to fill
out their voter registration application.” PX 174 at 1. This introduces a
confusing but major exception to the rule against a noncitizen “physically
exercising custody” over applications, thereby deepening rather than
alleviating the Citizenship Provision’s vagueness.
44 As explained throughout Parts III.D.1 and 2, Rule 1S-2.042 does not

save any of the challenged provisions. Defendants’ proposed
constructions, where they even address overbreadth or vagueness


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next question is whether the statute “criminalizes a substantial amount

of protected expressive activity.” Id. at 297. “In making that

determination, a court should evaluate the ambiguous as well as the

unambiguous scope of the enactment.” Vill. of Hoffman Estates, 455 U.S.

at 495 n.6. If the statute is overbroad, the Court must determine whether

it can sever the problematic provision from the rest of the statute. New

York v. Ferber, 458 U.S. 747, 769 n.24 (1982).

                 a.    The Retention Provision

     The Retention Provision is overbroad because it prohibits all

retention of applicants’ “personal information,” except for unspecified

“compliance” purposes. See Fla. Stat. § 97.0575(7); see also Part III.D.1.a,

supra (explaining vagueness of the provision’s key terms). The Retention

Provision thus prevents the League and other 3PVROs from retaining

even an applicant’s basic contact information—even with the applicant’s

express consent. See, e.g., Trial Tr. vol. 4, 1326:25–1327:9 (Babis Keller).




problems, are neither reasonable nor readily apparent from the face of
the statute. See, e.g., Fla. NAACP, 680 F. Supp. 3d. at 1316–1318; cf.
Trial Tr. vol. 3, 745:23–25 (Earley) (where a statute and administrative
rule conflict, he follows the statute).

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     Numerous witnesses attested that 3PVROs, including the League,

collect such basic contact information to follow up with applicants: to

ensure they received their voter registration card, to remind and

encourage them to vote, to engage with them on particular issues of

interest, and to provide more information about becoming a 3PVRO

member or volunteer. Trial Tr. vol. 4, 1251:24–1253:22 (Scoon); Trial Tr.

vol. 1, 97:6–20 (Nordlund); Trial Tr. vol. 4, 1161:16–1163:3, 1182:13–23

(Slater); Trial Tr. vol. 4, 1328:3–15 (Babis Keller). 45 In this way, 3PVROs

like the League use voters’ basic contact information to further essential

organizational goals: encouraging and assisting as many eligible

Floridians to vote as possible, and deepening associations with individual

voters, who may even become members. See, e.g., Trial Tr. vol. 4,

1198:10–18, 1252:21–24 (Scoon); Trial Tr. vol. 5, 1562:12–22 (Lichtman);

Fla. NAACP, 680 F. Supp. 3d. at 1308 n.12 (“the targeted voter outreach

made possible by retaining a voter’s contact information is central to

their purpose of increasing civic engagement”) (emphasis in original).



45 3PVROs also retain certain information about applicants for quality

control purposes and as documentation should the organization be
accused of any misconduct. See, e.g., Trial Tr. vol. 1, 97:21–24, 102:19–
22, 103:7–13 (Nordlund).

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        The Retention Provision prevents all of this, “crack[ing] down” on

the “vital civic function” 3PVROs play “by limiting the retention of

[applicants’ contact] information.” Trial Tr. vol. 5, 1471:25–1472:17

(Lichtman); see also, e.g., Trial Tr. vol. 4, 1254:9–19 (Scoon) (agreeing the

Retention Provision would “interfere with the League’s goal of getting as

many people to vote as possible”); Trial Tr. vol. 1, 104:1–15 (Nordlund)

(“we wouldn’t be able to have . . . an actual relationship with that voter

throughout the year and then make sure that they . . . [are given] a plan

to go vote”).46

        The State has not even attempted to remedy the Retention

Provision’s overbreadth through rulemaking. Rule 1S-2.042 does not

address whether 3PVROs may retain applicants’ contact information

with express consent. See generally PX 174. The rule does not exclude

applicants’ contact information from the definition of “personal

information,” despite specifying other exceptions. See id. at 1, Rule 1S-

2.042(3)(h); PX 778. And the rule does not specify whether an applicant’s


46 The League also expects that the threat of felony prosecution for
retaining any applicant’s “personal information,” even with consent, will
“severely” affect members’ willingness to register voters, in turn reducing
the number of voters the League can assist. Trial Tr. vol. 4, 1254:20–
1255:21 (Scoon) (“No League member wants to be accused of a felony.”).

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phone number, email address, or home address qualify as “information .

. . not generally available to the public” and which a 3PVRO therefore

cannot retain. Id. at 1, Rule 1S-2.042(3)(h); see also Part III.D.1.a,

supra. 47

      The Retention Provision’s overbreadth is especially unnecessary

given the availability of less restrictive alternatives that would protect

the privacy of applicants’ sensitive information 48 without precluding a

3PVRO from retaining applicants’ contact information. As Dr. Lichtman

explained, “there’s a simple solution . . . : [s]pecify exactly what

information you can’t retain and limit it to information that could be used

for identity theft, but leav[e] it open for information that the 3PVROs

could use for follow-ups, like names and addresses.” Trial. Tr. vol. 5,

1575:1–5 (Lichtman). Allowing 3PVROs to retain certain contact




47 The rule merely reiterates that a 3PVRO “may not retain an applicant’s

voter registration application (or the voter’s personal information
contained therein)” and may not “use such application (or the voter’s
personal information contained therein) for any purpose other than
promptly delivering such application.” PX 174 at 2, Rule 1S-2.042(5)(g).
48 As explained supra at n.31, there is no evidence in the record that, prior

to enactment of the Retention Provision, 3PVROs retaining voter contact
information led to any instances of election law violations or identity
theft.

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information with the express permission of the applicant could similarly

lessen the burden created by the Retention Provision.

     In sum, the League has proven that the Retention Provision is

overbroad because it prohibits the retention of any “personal

information” about a voter, even with the voter’s express permission. This

severely and unnecessarily burdens 3PVROs like the League in their

fundamental speech and association, when the State had available but

failed to adopt obviously less discriminatory alternatives.

                  b.   The Receipt Provision

     The Receipt Provision likewise is overbroad. Even if there were a

justifiable state interest in requiring 3PVRO volunteers to provide every

applicant a receipt, that interest does not justify requiring all volunteers

to disclose their name in writing to every voter they assist. See Part

III.C.1, supra.

     The Receipt Provision puts 3PVRO volunteers at risk of

harassment and intimidation, phishing attempts, and even criminal

prosecution—which will deter some from volunteering at all. Trial Tr.

vol. 4, 1234:2–1236:13, 1237:5–15, 1239:16–1241:3 (Scoon); Trial Tr. vol.

4, 1349:24–1351:5, 1352:14–1353:17, 1354:25–1356:5 (Elliott); cf. Trial



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Tr. vol. 3, 758:13–20 (Earley). As Dr. Elliott explained, “with this law, we

are being required to give that receipt to the voter, and it has our name

on it that they can use however they see fit.” Trial Tr. vol. 4, 1353:14–17

(Elliott). The Receipt Provision thus “decrease[s] the willingness of

volunteers,” hindering the League’s ability “to build our team and

continue to get more volunteers and members” and, in turn, to help

register as many eligible Floridians as possible. Trial Tr. vol. 4, 1243:6–

1244:5 (Scoon); see also Trial Tr. vol. 4, 1344:4–16, 1369:2–7, 1369:12–15

(Elliott).

      The Receipt Provision’s unnecessary overbreadth is obvious given

that it is possible to determine the 3PVRO and volunteer responsible for

a given application, without requiring every volunteer to provide their

name in writing to every voter they assist. Indeed, the Receipt Provision

itself requires listing the name of the 3PVRO on the receipt, such that a

voter could easily identify the organization responsible for their

application. Fla. Stat. § 97.0575(4); see also Trial Tr. vol. 4, 1248:4–19

(Scoon) (explaining why it would be “more helpful for the voter to have

the name or contact information just of the 3PVRO that helps them”).

Likewise, 3PVRO volunteers are required to include their initials—plus



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the 3PVRO’s identification number—on the front of every registration

application they assist a voter in completing. See PX 174 at 2, Rule 1S-

2.042(5)(c); Trial Tr. vol. 3, 760:8–11 (Earley). This means that between

election officials and a 3PVRO, there is already a record of which

individual volunteer collected each voter registration application. Trial

Tr. vol. 3, 760:12–15 (Earley). And of course, the State could tailor that

requirement still further to serve its purpose, such as by requiring that

the 3PVRO volunteer include their full name on completed applications.

The Receipt Provision’s requirement to disclose volunteers’ names on

receipts is thus gratuitous. 49

      In sum, by requiring all 3PVRO volunteers to provide their full

name in writing to every applicant they assist—when such information

is not necessary to determine the 3PVRO and volunteer responsible for

an application or to detect fraud—the Receipt Provision plainly “covers




49 As explained in Part III.C.1.a, supra, the Receipt Provision will usually

be unhelpful in investigating fraud, and the State provided no evidence
that a receipt has ever been used for that purpose. See Trial Tr. vol. 3,
804:21–24 (Earley). As Supervisor Earley acknowledged, for example,
any canvasser planning to commit fraud could write a fake name on the
receipt. Id. at 760:16–761:15 (Earley).

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substantially more speech than the First Amendment allows.” Speech

First, 32 F.4th at 1125.

                 c.    The Citizenship Provision

     Ample evidence was introduced at trial that the Citizenship

Provision is overbroad because it reaches far beyond any reasonable

scope of the State’s interest in ensuring competent and honest

performance of voter registration assistance.

     The Citizenship Provision prevents all noncitizens from “collecting

or handling” voter registration applications, even if they are supervised

by other experienced voter registration agents. Fla. Stat. § 97.0575(1)(f).

This is a major “substantive deviation” from past practice both in Florida

and nationally, Trial Tr. vol. 5, 1531:9–17, 1531:23–1533:2 (Lichtman),

with devastating consequences for 3PVROs’ ability to recruit members

and volunteers and, in turn, register as many eligible Floridians as

possible, see, e.g., Trial Tr. vol. 4, 1343:13–17, 1368:4–9, 1369:8–15

(Elliott); Trial Tr. vol. 2, 587:6–14 (Velez Burgos) (“it would from one day

to the other obliterate our workforce[, w]e would lose about 70 percent of

our canvassers”); Trial Tr. vol. 2, 410:20–411:2 (Herrera-Lucha). The

vagueness of the Citizenship Provision’s key term, “collecting or



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handling”—explained in Part III.D.1.d, supra—exacerbates still further

concerns about the law’s reach.

        What is clear is that the Citizenship Provision forbids even legal

residents from taking part in voter registration activities even when they

have never done anything warranting a restriction of their First

Amendment rights. 50 See Trial Tr. vol. 5, 1458:7–1459:10, 1546:16–25

(Lichtman). Given the paucity of registration-related malfeasance by

noncitizens, “there is no justification for sweeping in 1.6 million

noncitizens who are authorized to work when the evidence shows they

are likely to be very reliable” and, indeed, “essential employees” uniquely

capable of reaching certain communities of voters. Id. at 1548:23–1550:2

(Lichtman). The “pretty obvious” alternative “would be only to exclude

noncitizens who are not legally authorized to work.” Id. at 1572:23–

1573:16 (Lichtman).

        The Citizenship Provision’s overbreadth is further evinced by the

Provision’s strict liability standard, which imposes a $50,000 fine for each

violation. See Dream Defenders, 57 F.4th at 892 (determining law’s mens


50 As explained in Part III.C.4.a, supra, there is no evidence of legal
permanent residents—or any noncitizen 3PVRO volunteers—engaging
in unlawful activity related to voter registration.

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rea requirement i s necessary part of overbreadth analysis). As one

witness explained, such hefty fines imposed on a strict liability basis are

an “existential threat” to 3PVROs: “we just can’t expose ourselves to that

type of liability.” Trial Tr. vol. 2, 604:13–605:5 (Velez Burgos).

     The State has not remedied the Citizenship Provision’s overbreadth

through rulemaking. Rule 1S-2.042 does not exclude legal residents or

other noncitizens authorized to work from the prohibition. Nor does it

clarify the meaning of “collecting or handling” See generally PX 174; see

also Part III.D.1.d, supra. And while Rule 1S-2.042(6)(e) does provide

that a 3PVRO may avoid the $50,000 fine by requiring every volunteer

collecting or handling applications to attest to their citizenship under

penalty of perjury, see PX 174 at 3, that exception is not “reasonable and

readily apparent” on the face of the statute and should not be accepted

as a legitimate narrowing construction, Boos, 485 U.S. at 330.

     The League has thus shown that the Citizenship Provision is

overbroad in subjecting 3PVROs to a $50,000 strict liability fine if any

noncitizen participates in any activity involving “collecting or handling”

registration applications.




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IV.   Conclusion

      In sum, trial evidence established that all four of the challenged

provisions should be permanently enjoined.



Dated: April 22, 2024        Respectfully submitted,


                             /s/ Brent Ferguson

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